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CAUTION: NOT TO BE USED FOR
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

NEAL DAVIS                                          §   Civil Action No. 3:16-cv-1312-L
                                                    §
                       Plaintiff,                   §
                                                    §
v.                                                  §
                                                    §
MARTIN MARIETTA MATERIALS, INC.                     §
                                                    §         JURY TRIAL DEMANDED
                       Defendant.                   §

                          DECLARATION OF EBENEZER PRAH

STATE OF TEXAS                             )
                                           )
COUNTY OF ___________________
            Tarrant                        )

       BEFORE ME, the undersigned authority, on this day personally appeared Ebenezer Prah,

who, being by me duly sworn, on oath stated:


       1.     My name is Ebenezer Prah. I am over 18 years of age. I am competent to make

this Declaration. I have personal knowledge of the facts stated herein and they are true and

correct.

       2.     I am an American citizen born in Ghana.

       3.     I was employed by Martin Marietta Materials, Inc. as a process engineer from

approximately October/November 2008 to March 2017.

       4.     I worked with Plaintiff, Neal Davis, at Martin Marietta Materials, Inc. during my

whole time of employment.

       5.     My impression of Mr. Davis is that he is a hard worker that stayed late numerous

days/nights to get his work done.




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       6.        Mr. Davis also went to college at night so that he can get his Bachelor’s degree in

Human Resources, which he did. He worked hard and then attended school after a long day of

work so that he could further his education.

       7.        It was common at Martin Marietta to work overtime because last minute when

people are about to leave or logged out for the day, they would have to come back to work to

stay and get the work done. Often, trucks would arrive late and Davis would have to stay and

offload parts from the truck until completed.

       8.        From my experience working with Mr. Davis, I never knew him to be late or to be

regarded as a tardy employee.

       9.        I also aware of a 7-minute window where if an employee came to work within 7

minutes of his/her work shift start time, the person was not counted tardy. However, if the

employee came in to work after the 7 minute mark, he/she was counted as tardy.

       10.       Neal Davis would work late to complete whatever work tasks were required of

him to ensure that the work was completed.

       11.       After Mr. Davis got his Bachelor’s Degree in Human Resources, he applied for a

planner and HR position, which was a higher position than the one Davis held. He was passed

up both times.

       12.       During my time at Martin Marietta, almost all supervisory positions at Martin

Marietta were held by Caucasian employees.

       13.       During my employment with Martin Marietta, there were no African-American

employees in a planner/administrative manager (HR) position.

       14.       During my employment with Martin Marietta, everyone in HR and the front

office were all Caucasian employees.




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       15.     While supervisors did not outright state that the reason someone was terminated,

not selected, hired, promoted was because of their race, the attitude and actions of the

supervisors and managers reflected the underlying racism at the workplace.

       16.     Supervisors at Martin Marietta preferred having a lower education/experienced

Caucasian employee in a managerial/HR/Planner position than a higher qualified minority.

       17.     A good example of this institutional racism at Martin Marietta was failing to

select Neal Davis twice for promotions he applied for. Davis was clearly more qualified for the

positions for which he applied (Planner and HR) than the Caucasian individuals who were

eventually selected for the job.

       18.     Based on information and belief, for the HR position that Mr. Davis applied for,

Martin Marietta gave that position to Bridgette Hurst, an individual with less educational

qualifications and experience than Davis.

       19.     Based on information and belief, the worst example of Martin Marietta’s systemic

racism at the workplace was their decision to forego Mr. Davis for the Planner position. After

posting the position, Defendant did not make the decision for months. Mr. Davis was clearly

qualified for the position. After months, they made up an excuse of tardiness to terminate Mr.

Davis. They took his alleged tardies from years prior to say that they were going to fire him out

of the blue. After they terminated him, they selected Leann Kirkpatrick for the Planner position.

       20.     Based on information and belief, Leann Kirkpatrick did not have a degree and

was a secretary before she held the Planner position.

       21.     Based on information and belief, Martin Marietta fired Davis for asking about the

Planner position for which he applied. Martin Marietta did not have a reason to hire Leann

Kirkpatrick based on qualifications when compared to Davis. So, per their practice, they made




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             Dallas




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

NEAL DAVIS                                           §     Civil Action No. 3:16-cv-1312-L
                                                     §
                       Plaintiff,                    §
                                                     §
v.                                                   §
                                                     §
MARTIN MARIETTA MATERIALS, INC.                      §
                                                     §           JURY TRIAL DEMANDED
                       Defendant.                    §

                                AFFIDAVIT OF NEAL DAVIS
STATE OF TEXAS                           )
                                         )
COUNTY OF DALLAS                         )

       BEFORE ME, the undersigned authority, on this day personally appeared Neal Davis,

who, being by me duly sworn, on oath stated:


       1.      My name is Neal Davis. I am over the age of 18. I am competent to make this

Affidavit. I have personal knowledge of the facts stated herein and they are true and correct.

       2.      I am African-American.

       3.      I served the United States of America for almost twenty (20) years as a Sergeant

First Class in the United States Army, and was honorably discharged.

       4.      I spent over 8 years as a Recruiter and over 12 years as an Infantryman earning

the Meritorious Service Medal, Army Commendation Medal, Army Achievement Medal, Army

Good Conduct Medal, National Defense Service Medal, and Global War on Terrorism Medal,

among many other awards and honors.

       5.      I was employed by Defendant, Martin Marietta Materials, Inc. from

approximately December 11, 2006 through January 22, 2016 as a Utility Crewmember making




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$24,600.00, and then eventually a Storeroom Attendant making $36,816.00 when I was

ultimately terminated.

       6.      During the course of my employment, I was given compliments and laudatory

comments from my supervisor and other supervisors, including Eric Wilson, Danny Thursby,

Mickey Blankenship, and Lucy Tovar.

       7.      However, despite my work for Martin Marietta for approximately ten years, I was

never promoted after applying for two higher level positions (HR/Administrative Manager and

Planner), for which I was qualified. I was more qualified than the Caucasian employees that

were hired instead of me for those positions.

       8.      While employed by Martin Marietta, I ordered parts in the storeroom, maintained

and ordered inventory, kept parts list, tool lists, ensured proper storage and ensured inventory

was on hand when needed.

       9.      The Planner position for which I applied was a higher level Store Attendant II

position in management, which included job duties such as ensuring that inventory was on hand

when needed, ordering inventory, calling lenders, provide parts lists, develop tool lists,

determine cost of parts for each work order, order non-stock parts, ensure proper storage of parts,

and maintaining/monitoring inventory.

       10.     I obtained a Bachelor’s degree in Human Resources, which I earned at night while

working at Martin Marietta full-time.

       11.     I have experience in the United States Army as a Recruiter for eight (8) years

from June 1996 to September 2004. I have experience through the Army as a planner, as well. I

was in charge of exercises and long-term and short-term development planning for the soldiers I

supervised. I have supervisory and leadership experience in the Army, as well.




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       12.     I also have ten (10) years of experience at Martin Marietta. During my tenure at

Martin Marietta, I was ordering parts in the storeroom and following up with contacts/order,

which is similar to the skills for the Planner position.

       13.     As a Storeroom Attendant, my job duties included organizing inventory, shipping,

ordering and updating inventory, housekeeping, lockout and cross training with Storeroom

Attendant II, and Storeroom Assistant.

       14.     The Planner position included job duties such as ensuring that inventory was on

hand when needed, ordering inventory, calling lenders, provide parts lists, develop tool lists,

determine cost of parts for each work order, order non-stock parts, ensure proper storage of parts,

and maintaining/monitoring inventory.

       15.     In June 2015, I applied for a Planner position at Martin Marietta, for which I was

qualified.

       16.     When I followed-up with Hurst about the Planner position (as Martin Marietta did

not make a decision for months), Hurst told me that if I wanted to be promoted to a management

position, I should leave Martin Marietta altogether.

       17.     Almost all of the supervisory and/or managerial positions at Martin Marietta are

held by Caucasian employees. Attached to this Affidavit is a document title Midlothian Cement,

which I received from Defendant through its discovery production. The document shows an

Organizational Chart for the employees that worked at the Midlothian plant for Defendant. I

instructed my attorney to record the race for each individual on this document. Exhibit A-1

reflects an accurate representation of the race of the employees provided in the organization chart

based on information and belief.




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       18.     I was not selected; rather, a Caucasian female employee named LeAnn

Kirkpatrick was selected.

       19.     To the best of my knowledge and understanding, Kirkpatrick had absolutely no

relevant education and started her tenure with Martin Marietta in 2014.

       20.     Kirkpatrick did not take over for Glen Alexander’s position while he was on

extended medical leave. Rather, Eric Wilson and I performed some of those Planner duties

while he was on leave. Then, I would turn in work to John McCutchen, not Leann Kirkpatrick

because she was not performing that job.

       21.     At that time I applied for the job of Planner, I had earned a Bachelor’s Degree in

Human Resources, had 10 years with Martin Marietta, and twenty (20) years of experience with

the United States Army, with relevant skills that would be useful and necessary in the Planner

position.

       22.     In November 2015, I applied for a Human Resources (Administrative Manager)

position, for which I was qualified in light of 8 years as a Recruiter and my Bachelor’s Degree in

Human Resources, as well as my ten (10) years at Martin Marietta.

       23.     I was not selected for the Human Resources (Administrative Manager) position;

rather, a Caucasian female employee was selected named Bridgette Hurst.

       24.     The Administrative Manager position was essentially very similar to a Recruiter

position, for which I had ample experience.

       25.     To my knowledge and understanding, Ms. Hurst had an Associate’s Degree in

Office Administration.

       26.     I spoke with Karen McDonald (a Caucasian employee) who was the temporary

HR manager at Martin Marietta. McDonald admitted to me that she did not know how I could




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have been overlooked for the HR position because I had vastly more experience and education

than the Caucasian employee (Hurst) that received the position.

        27.     Two Caucasian male team leads (one named Clint Gilley) told me that only

females get the HR jobs at Martin Marietta’s plant, and that was why I did not get the HR

position.

        28.     Lucy Tovar, a manager, falsely attempted to write me up for tardiness in 2013,

but I contested the write-up, and it was changed to a verbal warning, which I also did not agree

with because she did not follow Martin Marietta’s own policies.

        29.     I was not written up for tardiness or verbally warned about being tardy in 2014,

2015 or 2016.

        30.     Nevertheless, I was told in 2016 that my termination was based on tardiness from

years prior. I was not placed on any performance improvement plans or given any warnings

prior to this termination.

        31.     All my annual performance reviews either indicate that my attendance and

punctuality were completely acceptable or was not worth mentioning.

        32.     On the very date that I was terminated, January 22, 2016, Ms. Kirkpatrick was

given the job of Planner. I learned of her promotion from Ms. Kirkpatrick after asking her why

people were congratulating her at the office. She said was given the Planner position.

        33.     After speaking to Kirkpatrick, Bridgette Hurst asked me to come into her office to

meet with her. She brought Wilson into the meeting, as well. Hurst told Wilson to read a letter

she gave him to me. Wilson started reading the letter and stopped to ask her what the letter was

and why he was being made to read it. He said that it was not right. Hurst told him to keep

reading the letter.




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       34.      Wilson read the letter to me, which was my termination letter. The reason given

for my termination was supposed tardies I had between 1/22/2015 and 1/15/2016.

       35.      My supervisor, Eric Wilson, called to tell me that the reason I was terminated was

due to the fact that I had indicated that I should have received the Planner position instead of Ms.

Kirkpatrick.    Wilson told me that he did not want to terminate me but was forced to by

Defendant.

       36.      Ms. Kirkpatrick did not perform the Planner job duties during Glen Alexander’s

extended medical leave. Rather, Eric Wilson and I took over several job duties, including but

not limited to requisition, ordering parts, and reporting the requisitions to John McCutchen. If

Kirkpatrick took over the Planner position duties during Alexander’s extended medical leave, I

would have reported the requisitions to her, which I did not.

       37.      I was told by Tovar and Wilson at Martin Marietta that I should not clock back in

if I was called back after clocking out. I was told this because the system automatically grants a

person who clocks back in four hours, which Martin Marietta did not want me to record.

       38.      I typically worked 3 hours after logging out, which was never recorded per

Wilson and Tovar’s instruction.

       39.      I told Eric Wilson that I was working extra hours per his instruction, without

getting paid.

       40.      Eric Wilson never instructed me or instructed HR on my behalf to adjust my

hours on the Payroll Adjustment Form.

       41.      Wilson did not suggest using the Payroll Adjustment Form to make changes after

he instructed me not to log back in to record my hours worked after logging out.




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         42.   Based on my knowledge, experience, and practice with Martin Marietta, the

Payroll Adjustment Form was used for major changes to pay, such as changing vacation to

illness, not for minor pay changes.

         43.   I asked Eric Wilson on multiple occasions to make adjustments to my schedule in

light of these overtime hours that I was not compensated for, but I never received the relevant

adjustments.

         44.   At the onboard meeting with Martin Marietta’s corporate HR, I was told that a

seven minute rule existed for tardiness, which means that if I clocked in within seven (7) minutes

of my start time it would not be counted as a tardy.

         45.   I did not have a habit of being tardy according to Martin Marietta’s own policy.

         46.   Almost all tardies I had fell within the 7 minute window and did not count as a

tardy.

         47.   I was not informed that my alleged tardies were cause for write-ups, performance

issues, or termination until the date of my actual termination.

         48.   Martin Marietta typically gives a verbal warning before a written warning, which

was not even followed for the alleged tardies Martin Marietta accused me of having.

         49.   I worked substantial overtime at Martin Marietta.

         50.   I worked overtime after logging out of the time system that was not recorded

because Defendant told me not to log back in because the system would give me an automatic 4

hours of overtime.

         51.   After logging out, I typically worked a minimum of 2 hours, with an average of 3

hours a day for which I did not receive pay.




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                                                                         Interoffice Memorandum




  Date: January 25, 2016

  To: All Employees

  From: Jason Crowther

  Subject: LeAnn Kirkpatrick Promotion




  Please join me in congratulating LeAnn Kirkpatrick in her new position as Maintenance
  Planner.

  LeAnn started at the Midlothian Plant in April of 2014 as the Maintenance Admin. Since
  then, she has shown what an asset she can be to the maintenance department and the
  plant. I know that she will do the same in this position as well. I look forward to seeing
  her continued success with Martin Marietta.

  Congratulations LeAnn and good luck!!

  JC/bh




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     Maintenance Planner
     Location: Midlothian, TX 76065
     Recruiter: Bridgette Hurst
     Hiring Manager: Jason Crowther

     PURPOSE
     The primary objective of the Maintenance Planner is to improve the efficiency and productivity of the
     workforce, service companies, and contractors. This will be accomplished by providing the employees
     with detailed job plans, including technical specifications, machinery history, parts and tools lists, and
     safety procedures in a very organized fashion. The Maintenance Planner is also responsible for providing
     all the necessary information to ensure that all work is completed in a safe, efficient, and timely manner,
     and in compliance with environmental requirements.

     ROLES AND RESPONSIBILITIES
      The Maintenance Planner is responsible for the preparation of all planned maintenance activities to be
     executed by Midlothian Cement employees, service companies, or contractors. In that role, the Planner
     will work closely with the Maintenance Staff team on the following tasks and responsibilities in order to
     reinforce the day-to-day preparation and job planning:

     ·   Improve the content and quality of information on work orders
     ·   Add pertinent information to the Work Package as required helping ensure the comprehension of the
         package material by the execution team
     ·   Clearly define the scope of work to be performed
     ·   Establish the preparatory work required prior to scheduled equipment downtime
     ·   Develop a detailed job plan with all the work sequences involved to adequately complete the repairs,
         as well as equipment downtime and work-hours required
     ·   Determine and document in a list all the safety procedures associated with the work to be performed
     ·   Develop a tool list specific to the job to be performed
     ·   Provide a parts list with reference numbers and exact location for every work order and ensure that
         all required parts are in stock before job scheduling
     ·   Ensure all technical specifications and special instructions are provided on paper to the supervisor and
         team
     ·   Determine the cost involved for parts and supplies for each work order
     ·   Ensure that once a job is completed, the work order (WO) is filled out properly and that meaningful
         information is entered into the machinery history file
     ·   Order all non-stock parts and materials as required by the job procedure
     ·   Inform the Mechanical Supervisor when a job is ready for scheduling
     ·   Establish and maintain, with the supervisors and the Warehouse a system for proper storage of pre-
         work and parts for pending work
     ·   Work with the Warehouse Supervisor to review and update parts min-max levels and to develop and
         maintain the equipment parts catalogue
     ·   Responsible for the process improvement and maintenance of the equipment files and history (paper
         and electronic)
     ·   Review all existing master job procedures on a regular basis and ensure that they are up to date and
         contain all pertinent information
     ·   Ensure that the inventory and sources of spare parts are consistent with standards, plant equipment
         reliability, and economic constraints. S/He will also ensure materials and parts conformity upon
         receipt
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·   Must be a subject matter expert of JD Edwards. The Planner must have full functional knowledge of
    the work order tracking system, spare parts catalogue, procurement punch out, requisitioning, and
    inventory systems as well as knowledge of the modern software packages available such as Word,
    Excel, Microsoft Project Scheduler, etc.
·   Assist the Maintenance Manager and Reliability Engineer with the preparation and control of the
    annual budget
·   Participate in the Maintenance Supervisor On-Call Program
·   Participate in the daily work order review and weekly scheduling meeting.
·   Participate in the development of the major maintenance jobs
·   Keep the Bill of Materials up to date for all equipment
·   Maintain the drawing office and technical library including catalogue of documents, manuals and
    drawings

SPECIFIC ACCOUNTABILITIES
· Develop procedures for every WO by providing the employees with detailed job plans, including
   technical specifications, drawings, relevant information from the manuals, machinery history, parts
   and tools lists, and safety procedures in a very organized fashion.
· Provide parts list with stock numbers and exact location for every work order and ensure that all
   required parts are in stock before job scheduling
· Arrange the purchase of non-stock parts for the completion of jobs as well as be aware of the available
   stock parts. Maintain current the Equipment Parts Catalogue on each piece of existing equipment and
   develop parts lists for new equipment installations
· Write job scopes and bid documents [Request for proposal (RFP)] for contract services, and represent
   Maintenance in the bid process along with Procurement and other personnel
· Improve and maintain the equipment files and history (paper and electronic)
· Plan all major turnarounds of all equipment throughout the year
· Assist the Maintenance Manager and Reliability Engineer in the development of the yearly
   department budget and control of it once approved
· Lead in the utilization of JD Edwards and Scheduling software in accordance with best practices

    QUALIFICATIONS
·   Bachelor’s degree in a related field strongly preferred. Technical/vocational/ trade school and/or
    significant experience in the cement industry will be considered in lieu of degree with demonstrated
    skills in the use of computers and other aspects relevant to this position. A degree is preferred, but
    not a requirement.

Technical Skills
1. Global
 -    Local Safety regulations and procedures
 -    Cement production process
 -    Equipment technology
 -    Strong computer knowledge in JD Edwards, Microsoft Projects, Excel and PowerPoint
 -    Possess the ability to learn through formal training and work related experiences
 2. Mechanical
 -    Cement and/or Heavy industry parts experience
 -    Knowledge of mechanical repairs and procedures for all cement equipment
 -    Knowledge of Root Cause Failure Analysis
 -    Knowledge of Computer Aided Design [AutoCAD]
 3. Personal Skills
 -    Results driven (reliability, cost)
 -    Ability to plan or arrange work on a continual basis including break-ins and emergencies
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    -     Ability to prioritize work orders and manage priorities
    -     Ability to interact with plant personnel at all levels
    -     Good interpersonal skills
    -     Strong communication skills, both oral and written
    -     Willingness to work extended hours, even weekends and holidays, if required
    -     Ability to strategize in ambiguous situations
    -     Strong computer skills such as fluency in the use of CMMS, Microsoft Word, Excel, PowerPoint,
        Project, etc.
    -     Ability to successfully negotiate with vendors

PHYSICAL REQUIREMENTS

           •    Ability to sit for extended periods of time (up to 8 hrs.), stand, stoop, and bend
           •   Walk on all types of surfaces (uneven and/or slippery ground)
           •   Climb stairs and ladders as high as 200 feet in elevation
           •   Physical ability to climb on equipment to provide supervision as needed
           •   Able to walk long distances, climb ladders, stairs and stockpiles, stoop and crawl under and
               into enclosed spaces
           •   Must be able to clearly see and hear safety indicators and warnings
           •   Must work in all weather conditions, heat, cold, wet, dry, and/or dusty conditions, and near
               hot kiln process
           •   Tolerate exposure to all levels of noise that will require the use of hearing protection
           •   Tolerate potential exposure to cement, clay, limestone, various lab chemicals, and
               fuels. See MSDSs for more details.


                Equal Opportunity Employer/Minorities/Females/Veterans/Disabled




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Bridgette Hurst

Subject:               FW: Job description




Administrative Manager
Martin Marietta ‐ Cement ‐ Midlothian, TX
Commission
Apply with your Indeed Resume

We're building our future with you.

Martin Marietta, an American‐based company and a member of the S&P 500 Index, is a leading supplier of aggregates and heavy
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resources for the roads, sidewalks and foundations on which we live.

Martin Marietta's Magnesia Specialties business provides a full range of magnesium oxide, magnesium hydroxide and dolomitic lime
products.

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future leaders. We are building on our foundation of success by selecting the finest people and helping them realize their potential.
When you decide to build your career at Martin Marietta, you'll know what it's like to be respected, challenged and rewarded.

POSITION SUMMARY

The Administrative Manager is responsible for providing on‐site, first level HR and employee relations support to the plant. This
position also manages assigned administrative staff and oversees custodial services. This position reports to the Plant Manager with
a strong dotted line reporting relationship to the Director of Human Resources.

ESSENTIAL FUNCTIONS



        Works closely with HR Director on employment, compensation, disciplinary and other HR related matters

        Maintains desired plant staffing by coordinating plant recruiting efforts, advertising, sourcing, selection and pre‐
         employment processing of applicants

        Coordinates and documents good faith outreach efforts in support of Affirmative Action and EEO efforts

        Ensures that BirdDog recruiting system is fully utilized to comply with requirements for accurate applicant tracking

        Supervises and coordinates onboarding process including timely i‐9 completion and all associated new hire paperwork and
         training

        Works with plant management and HR and Safety to assess ongoing training needs; secures and/ or develops and/or
         facilitates training programs to address same

        Accesses JDE HR/PAYROLL system to generate, process and key ECNs for hourly employees

        Generates ECNs for salaried employees and prepares them for keying at Corporate

        Generates various reports from the HR/Payroll system

        Maintains current HR knowledge by attending educational workshops and other training opportunities, reviewing
         professional publications and networking with other HR professionals


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      Actively engages with employees to assesses morale, and assist with problems solving related to their employment or
       benefits escalates issues to involve HR Director as needed

      Champions of positive employee relations in all phases of the operation

      Maintains employment files in audit read condition

      Coordinates employee communications for the plant

      Coordinates and documents strategic community relations efforts; Participates and encourages other employees at all
       levels to participate in such activities; Coordinates efforts with Martin Marietta Communications and Governmental Affairs

      Supervises and coordinates the random drug and alcohol screening program

      Provides support for corporate and plant safety programs and initiatives

      Serves on leadership team for Annual Refresher Training and may serve in outside safety leadership roles (MSHA
       conference committees, Holmes, etc)

      Administers gift card program and other employee recognition programs, i.e.‐ service awards, safety slogans, plant
       incentive plans, etc.

      Administers local aspects of Educational Assistance Program

      Oversees various HR and Administrative projects tied to the Management Incentive Program

      Ensures custodial services are performed with appropriate quality; facilities should be clean and presentable at all times

      Staff support for Plant Manager and management team

      Assists with projects, analyses, reports, and communications as needed

      Leads admin team in coordination of major events including BOD visits, tours, employee picnic, Christmas party, etc.

      Kronos Administrator, assists employees with payroll issues as needed

      Notary Public

      Other duties as directed by management
MINIMUM EDUCATION AND EXPERIENCE



      Bachelor’s degree in Business Administration strongly preferred

      2+ years HR experience required, HR experience in an industrial setting is strongly preferred

      Supervisory experience preferred
KNOWLEDGE, SKILLS AND ABILITIES



      Ability to work on many different tasks and priorities simultaneously in a high stress environment with superior time
       management skills

      Observe and comply with all safe work practices

      Thorough knowledge of company benefits and policies

      Working knowledge of basic employment law, ADA, FMLA, i‐9, and MSHA regulations

      Project a positive attitude and professional appearance

      Strong leadership and teambuilding and public speaking skills

      Focused customer service orientation

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        Strong PC skills (MS Office / Windows environment)

        Experience with PC or web based HR Info Systems; Ceridian HRIS experience preferred

        Able to communicate effectively with employees at all levels

        Able to handle position responsibility with creativity

        Knowledge of Governmental regulations and requirements. (EEO, AAP, MSHA, DOT, DOL, Workers’ Compensation, State
         Employment Commissions, etc.)

        Positive, professional impact

        Self‐starter, Team Player

        Exceptional organizational, analytical and problem solving skills with a strong attention to detail

        Occasional overnight travel, up to a week at a time

        Must be able to read, write, and speak the English language fluently
PHYSICAL REQUIREMENTS

While performing the duties of this job, the employee is occasionally required to move around the work area: sit; perform manual
tasks; operate tools and other office equipment such as computer, computer peripherals and telephones; extend arms; kneel, stoop
and bend to access files; talk and hear. The employee must occasionally lift and/or move up to 25 pounds.

WORKING CONDITIONS

Most time is spent in an air conditioned office environment with regular periods of work spent outdoors in the plant environment
which may include all weather conditions‐heat, cold, wet or dry. May be exposed to dust, sand, gravel, diesel exhaust, cement, etc.

DISCLAIMER

The above statements are intended to describe the general nature and level of work being performed by people assigned to this
classification. They are not to be construed as an exhaustive list of all responsibilities, duties, and skills required of personnel so
classified. All personnel may be required to perform duties outside of their normal responsibilities from time to time, as needed.

Benefits:



        Medical

        Prescription Drug

        Dental

        Vision

        Health Care Reimbursement Account

        Dependent Care Reimbursement Account

        Wellness Programs

        Employee Assistance Plan

        Paid Holidays and Vacation

        401(k) ‐ with Company matching

        Pension

        Salary Continuation ‐‐ Short‐term Disability

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                       Long‐Term Disability Options

                       Employee Life Insurance

                       Spouse & Dependent Life Insurance

                       Business Travel Accident Insurance

                       Direct Deposit Payroll

                       Educational/Tuition Assistance Plan

                       College Scholarship Program – for dependent children

                       Matching Gift Program

                       New Auto Purchase Discount Plans


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·1· · · ·A.· · Correct.
·2· · · ·Q.· · And people at the Midlothian facility when
·3· ·Bridgette Hurst initially served as administrative
·4· ·manager generally liked her and respected her.· Correct?
·5· · · ·A.· · Correct.
·6· · · ·Q.· · You had no problems with Ms. Hurst when she
·7· ·served in the administrative manager role previously.
·8· ·Correct?
·9· · · ·A.· · Correct.
10· · · ·Q.· · And Ms. Hurst actually applied for the position
11· ·of administrative manager in 2015.· Right?
12· · · ·A.· · Correct.
13· · · ·Q.· · And she was selected over you.· Correct?
14· · · ·A.· · Correct.
15· · · ·Q.· · So Ms. Hurst was selected to fill a position
16· ·that she had already successfully filled.· Correct?
17· · · ·A.· · Correct.
18· · · ·Q.· · And it would be reasonable for an employer to
19· ·pick Ms. Hurst over you.· Correct?
20· · · · · · · · · MR. BHATTI:· Objection, form.
21· · · ·A.· · I do not agree with that.· The reason I do not
22· ·agree with that is because Ms. Hurst -- she did work
23· ·there and she quit.· Mr. Hurst quit.· And based on when
24· ·they put the job back out there and with the
25· ·qualification they had in here, based on the

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·1· ·qualification, my qualification equaled her qualification
·2· ·or better because she had a two-year degree in human
·3· ·resource.· I had a four-year degree.
·4· · · · · · ·The other thing is that I also did prior stuff
·5· ·in the military.· I served as the -- I was a recruiter
·6· ·with the Army.· Also I was the senior human resource guy
·7· ·of three stations.· And by me not having been afforded
·8· ·the opportunity of that, I think my resume basically --
·9· ·comparing resume with resume, I believe my resume was
10· ·stronger than hers.
11· · · ·Q.· ·(BY MR. BIRRER) And you weren't making the
12· ·decision.· Correct?
13· · · ·A.· · No.
14· · · ·Q.· · Okay.· So setting aside resumes, would it be
15· ·fair to say that Martin Marietta didn't have to look at a
16· ·resume to know whether Bridgette Hurst could successfully
17· ·perform the job because she had already performed the
18· ·job.· Correct?
19· · · ·A.· · That's correct.
20· · · ·Q.· · So they knew how Bridgette Hurst would fulfill
21· ·the role.· Correct?
22· · · ·A.· · Correct.
23· · · ·Q.· · You were an hourly employee working in the
24· ·warehouse.· Correct?
25· · · ·A.· · Correct.

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  Martin Marietta - Cement


  Storeroom Attendant
  Location: Midlothian, TX 76065
  Recruiter: Bridgette Hurst / Stefanie Gaines
  Hiring Manager: Eric Wilson

  Job Description:
  The Storeroom Attendant reports to the Storeroom Supervisor and is responsible for organizing and
  maintaining an accurate count of items in the Storeroom as well as shipping items as needed.

  Responsibilities:
      •   Organizing inventory in the storeroom
      •   Shipping
      •   Performing physical inventory cycle counts, updating CMMS system and generating
          adjustment reports
      •   Housekeeping
      •   Lockout
      •   Cross-training with Storeroom Attendant II, Storeroom Assistant, and Tool room Attendant
          positions
  Requirements:
      •   High school diploma or equivalent
      •   Ability to read, write, and verbally communicate in the English language
      •   Must be able to read and understand operating manuals for mobile equipment operated
      •   Must be able to drive and operate mobile equipment using levers and pedals to operate
      •   Pass required physical examination and drug screens
      •   Preferred (2) years’ experience in cement or related industry
      •   Preferred knowledge of JD Edwards
      •   Preferred knowledge of all types of equipment used in the manufacturing of cement
      •   Knowledge of hazards associated with areas of responsibility




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·1· ·manager was in there.· So I'm assuming --
·2· · · ·Q.· · Who?· The plant manager?
·3· · · ·A.· · Her, the plant manager, and Terry Doyle in that
·4· ·time frame.· Terry Doyle was the human resource outside
·5· ·the plant.· From my recollection, I'm thinking that she
·6· ·was the person to go to because she's the one that
·7· ·submitted the -- posted the job and all that.· So she's
·8· ·the one who I went to.
·9· · · ·Q.· · Okay.· So I'm just asking you, so you don't
10· ·know who made -- you believe the plant manager made the
11· ·hiring decision, and you don't know who else was involved
12· ·in the hiring process to pick Bridgette Hurst.· Is that
13· ·correct?
14· · · ·A.· · That's correct.
15· · · ·Q.· · Okay.· And Terry Doyle is a senior HR
16· ·professional at Martin Marietta.· Correct?
17· · · ·A.· · Correct.
18· · · ·Q.· · And he was in your interview.· Is that right?
19· · · ·A.· · Correct.
20· · · ·Q.· · And so you said Karen -- you spoke with Karen
21· ·about the decision to hire Bridgette?
22· · · ·A.· · Correct.
23· · · ·Q.· · What did Karen say?
24· · · ·A.· · When I went to Karen -- when I went to Karen
25· ·about the decision, she said, "Well, looking at the

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·1· ·paperwork, looking at your background, you had more
·2· ·qualifications than she did.· The decision they made, I
·3· ·don't totally agree with it.· But, hey," she said, "hold
·4· ·your head up, keep your head up."· And she said, "Neal"
·5· ·-- she was sorry.
·6· · · ·Q.· · Okay.
·7· · · ·A.· · So from the aspect what she had told me on
·8· ·that, I took it -- I took that -- that was the first one.
·9· ·I said, "Okay.· Water under the bridge.· Move on."
10· · · ·Q.· · I just want to make -- so you spoke with Karen
11· ·after Bridgette Hurst got the position.· Karen said kind
12· ·words to you and said that she thought you had good
13· ·qualifications, keep your head up and keep trying.· Is
14· ·that fair?
15· · · ·A.· · Not totally accurate.· Based on what Karen
16· ·said, she said based on the qualification, my
17· ·qualification was outstanding.· In the Midlothian cement
18· ·plant, in those positions, no male has ever held any of
19· ·those positions.· No male.· Not one.
20· · · ·Q.· · In the HR position?
21· · · ·A.· · In the HR or the secretary or the manager or
22· ·any area in there in that office building other than Dan
23· ·Payne.· He was the safety guy, which is part of the
24· ·plant.· No male ever held those positions.
25· · · ·Q.· · Well, Terry Doyle is a man.· Right?

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·1· ·were terminated?
·2· · · ·A.· · No.· The thing that was making me upset because
·3· ·prior to that, they had an assistant plant manager.                       I
·4· ·used to go ask him -- I did the interview with him and
·5· ·all that stuff.· He told me, "Hey, you did perfect.· You
·6· ·did good.· Excellent."· I said, "Hey, when are you going
·7· ·to post the job?"· "Probably about two weeks."· Okay.                         I
·8· ·wait.
·9· · · · · · ·Then he say -- I go back in two weeks.· They
10· ·hadn't posted.· He said, "I don't know what they're
11· ·doing."· He said, "Check back with me."· I check back
12· ·with him.· Still don't know anything.
13· · · · · · ·So then when I found out that it come down
14· ·to -- boiled down to getting the position, it was between
15· ·me and LeAnn -- that's the female who got the job -- all
16· ·of a sudden I started seeing this -- excuse me.· I'm
17· ·getting a little emotional.· I'm sorry.
18· · · · · · ·Going back and forth, back and forth, I recall
19· ·going out to -- leaving the assistant plant manager's
20· ·office that day.· I ran across a guy who's name was Clint
21· ·Gilley.· His name was Clint Gilley.· He told me, "Neal,"
22· ·he said, "Bud, I know you're qualified for that job, but
23· ·you have" -- per his words, per our conversation -- "you
24· ·are not the right color and you are not the right gender
25· ·for that job."· And he said, "I know you're qualified for

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·1· ·it, but they ain't going to give it to you."
·2· · · ·Q.· · And what was Clint Gilley's job position?
·3· · · ·A.· · He was in the maintenance department.
·4· · · ·Q.· · He was an hourly, non-management employee?
·5· · · ·A.· · Yes, that's correct.
·6· · · ·Q.· · And what race is Clint Gilley?
·7· · · ·A.· · He's Caucasian.
·8· · · ·Q.· · So you don't have any reason to think that
·9· ·Clint Gilley was involved in the decision-making process
10· ·on who to hire for the planner position.· Correct?
11· · · ·A.· · That's correct.
12· · · ·Q.· · So I just want to make -- you've had a lot of
13· ·testimony.· I just want to make sure I get the facts down
14· ·right about what was said.· So on the day of your
15· ·termination, Bridgette Hurst came to you and said, "I
16· ·need you to come meet with myself and Eric Wilson."· You
17· ·walked into Eric Wilson's office with Bridgette, and the
18· ·three of you had a meeting.· Correct?
19· · · ·A.· · That's correct.
20· · · ·Q.· · And at that meeting, Bridgette had documents
21· ·which you recall she handed to Eric Wilson.· Correct?
22· · · ·A.· · That's correct.
23· · · ·Q.· · And at the meeting, Eric read from the
24· ·documents to you, and you perceived him as becoming
25· ·upset.· Correct?· Is that correct?

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·1· ·questions.· So you've indicated that the co-workers that
·2· ·you indicate have encouraged you to file the lawsuit are
·3· ·Mike Martinez, Eric Wilson, a gentleman named Ebenezer.
·4· ·Anyone else that you can recall right now?
·5· · · ·A.· · Yes, another one that I can recall is -- he was
·6· ·the production manager and I met him going out, and he
·7· ·recommended me to go get a lawyer.· What's his name?                         I
·8· ·can see his face, but I can't recall his name.· This
·9· ·happened in 2016.
10· · · ·Q.· · Okay.· That's fine.· So what -- tell me as
11· ·closely as you can recall, what did Mike Martinez say to
12· ·you?
13· · · ·A.· · On that --
14· · · ·Q.· · Let me re-ask that question because it was a
15· ·little unclear.
16· · · · · · ·You've already testified that Mike Martinez
17· ·spoke with you after you were terminated about a
18· ·potential lawsuit.· So if you could, tell me about the
19· ·conversation between you and Mike Martinez.
20· · · ·A.· · On that day, I was called up to Eric Wilson's
21· ·office who was the production -- my supervisor at that
22· ·time frame.· And as I was going out of there, he said --
23· ·he looked at the frustration on my face and said, "What's
24· ·wrong, man?"· I said, "Man, they terminated me."· He
25· ·said, "For what grounds?"· And basically I said, "They

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·1· ·say that I was late, but I wasn't late."
·2· · · · · · ·But anyway, he said, "Oh, man."· He said, "You
·3· ·know what that is.· Right?"· I said, "What is it?"· He
·4· ·said, "That means they already gave that job to the other
·5· ·female."· I forgot her name.· "They gave the job to her
·6· ·and they're trying to get you out the door to hush you
·7· ·up."· He said, "If I were you, I would get me a lawyer."
·8· · · ·Q.· · Do you recall anything else from that
·9· ·conversation?
10· · · ·A.· · That's basically what I can recall from that.
11· ·It's 2016.
12· · · ·Q.· · And what was Mike Martinez's job position?
13· · · ·A.· · Me and him was both -- I think Mike was -- he
14· ·was a lead clerk.· Lead clerk.
15· · · ·Q.· · Lead clerk?
16· · · ·A.· · Yes.· He was in the storeroom.
17· · · ·Q.· · Storeroom clerk?
18· · · ·A.· · Yes, storeroom clerk.
19· · · ·Q.· · So Mike Martinez was a storeroom clerk?
20· · · ·A.· · Yes.
21· · · ·Q.· · And you were a storeroom clerk?
22· · · ·A.· · That's correct.
23· · · ·Q.· · So you and Mike Martinez worked together.
24· ·Correct?
25· · · ·A.· · Correct.

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·1· · · ·Q.· · Would it be fair to say that you and Mike
·2· ·Martinez worked together more than anyone else at the
·3· ·company?
·4· · · ·A.· · Yes.
·5· · · ·Q.· · And Mike Martinez was an hourly non-management
·6· ·employee.· Correct?
·7· · · ·A.· · That's correct.
·8· · · ·Q.· · You have testified that Eric Wilson spoke with
·9· ·you about filing a lawsuit.· Is that correct?
10· · · ·A.· · That's correct.
11· · · ·Q.· · Tell me about your conversation with Eric
12· ·Wilson.
13· · · ·A.· · Basically dealing with Eric on that particular
14· ·day, HR had came up and told me, "Hey, I need to speak
15· ·with you."· I can't think -- sorry.· I can't recall the
16· ·name.· But anyway, she came up --
17· · · ·Q.· · Was it Bridgette Hurst?
18· · · ·A.· · Bridgette, yeah.· Bridgette shake hands with me
19· ·and say, "I need to speak with you.· We need to go into
20· ·Eric's office."
21· · · · · · ·So we got into Eric's office.· Eric started
22· ·trying -- he tried to read me the statement that
23· ·Bridgette had typed up, but he couldn't finish it because
24· ·he broke out emotionally.· He just basically torn up
25· ·about the whole deal.· And he said, "I'm sorry.· This is

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·1· ·wrong."· He said, "This is wrong."
·2· · · · · · ·I said, "All right.· Hey, man" -- basically, me
·3· ·being on the other side, I was trying to -- "Hey, man,
·4· ·don't worry about it."· He said, "Man, don't let them get
·5· ·you like that."· He said, "This is" -- I can't recall the
·6· ·exact words he said, but basically going out he say,
·7· ·"Hey, if I were you, I'd fight it."
·8· · · ·Q.· · So how do you know Bridgette typed up the notes
·9· ·that he was reading?
10· · · ·A.· · Well, I do not know that Bridgette is the one
11· ·who officially typed them up.· I don't know who typed
12· ·them, but she was the one that present them.
13· · · ·Q.· · I thought you said Eric is the one who
14· ·presented them?
15· · · ·A.· · That's not what I said.· What I said was that
16· ·Bridgette came and got me and took me to Eric Wilson's
17· ·office.· She had the paper in her hand.· She gave the
18· ·paperwork to Eric Wilson to read to me.· He could not do
19· ·it.
20· · · ·Q.· · Okay.· And so at your termination meeting, the
21· ·only two people present were you, Eric Wilson, and
22· ·Bridgette Hurst.· Correct?
23· · · ·A.· · That is correct.
24· · · ·Q.· · And so do you know who made the decision to
25· ·terminate you?

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·1· · · ·A.· · I do not know who made the final decision, but
·2· ·I do know it wasn't my supervisor.
·3· · · ·Q.· · It was not Eric Wilson is what you said?
·4· · · ·A.· · It was not Eric Wilson.
·5· · · ·Q.· · And you know that based on what you heard in
·6· ·the meeting, the termination meeting?
·7· · · ·A.· · No, based on his reaction, based on him -- he
·8· ·was trying to read the termination, and I know for a fact
·9· ·that it didn't come from him.
10· · · ·Q.· · How do you know for a fact?
11· · · ·A.· · Because usually when I'm out for -- usually if
12· ·Eric has something strong on his mind, he's going to tell
13· ·you.· He's an upfront guy.· He's going to be straight
14· ·forward with you.· On that particular day, I know he was
15· ·totally out of his character and it wasn't him.
16· · · ·Q.· · So you're -- so in other words, no one told you
17· ·who made the decision to terminate your employment.
18· ·Correct?
19· · · ·A.· · That is correct.
20· · · ·Q.· · And so based on your observation of Eric Wilson
21· ·on the day of your termination, you're assuming that he
22· ·didn't make the decision.· Correct?
23· · · ·A.· · Based on that day, I know it wasn't Eric.· And
24· ·the reason why I know it wasn't Eric, Eric Wilson had
25· ·basically came out and said, "They are making me do

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·1· ·this."· So "They are making me do this," that means
·2· ·that's not Eric Wilson.
·3· · · ·Q.· · So now is it your testimony that at the meeting
·4· ·with you, Bridgette, and Eric, that Eric said, "They are
·5· ·making me do this"?
·6· · · ·A.· · Yes.
·7· · · ·Q.· · So with Bridgette sitting there, he said that?
·8· · · ·A.· · Yes.
·9· · · ·Q.· · Okay.· Do you recall anything else that was
10· ·said during the meeting where you, Eric, and Bridgette
11· ·were present?
12· · · ·A.· · Yes.
13· · · ·Q.· · What?
14· · · ·A.· · I recall that as I was -- I was upset, Eric was
15· ·upset, and basically Bridgette trying to console me, she
16· ·told me, she said, "Neal, don't feel so bad.· There's
17· ·more opportunity outside that gate."· Point blank.
18· ·There's more -- she said, "Look at what you got going for
19· ·you.· You have your military background, your education.
20· ·You have a lot going for you, guy."
21· · · ·Q.· · Do you recall anything else that was said
22· ·during the termination meeting other than what you've
23· ·testified to?
24· · · ·A.· · Basically other than that, at the end I said,
25· ·"I would like to speak to the plant manager."· She said,

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·1· ·"You can do that."
·2· · · ·Q.· · And who was the plant manager?
·3· · · ·A.· · Randy Walsher [sic].
·4· · · ·Q.· · Randy Walsh?
·5· · · ·A.· · Walsher, W-a-l-s-h-e-r.
·6· · · ·Q.· · Walsher.· And so before we go away from the
·7· ·termination meeting, based on your testimony, both
·8· ·Bridgette and Eric Wilson were compassionate and caring
·9· ·towards you during the termination meeting.· Correct?
10· · · ·A.· · Eric Wilson, yes.· Bridgette, I wouldn't say
11· ·more compassionate of her.· I think she'd been more
12· ·sarcastic when she said her statement.
13· · · ·Q.· · What leads you to say that?
14· · · ·A.· · Because any time you tell an employee you can
15· ·go out there and find something else, that's not
16· ·compassionate.
17· · · ·Q.· · So those particular words irritated you
18· ·somehow?
19· · · ·A.· · Yes, they did.
20· · · ·Q.· · Okay.· But did anyone raise their voice during
21· ·the meeting, the termination meeting.
22· · · ·A.· · Not that I recall.
23· · · ·Q.· · Did you raise your voice?
24· · · ·A.· · Not that -- well, yes, I did.· I did raise my
25· ·voice.

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·1· · · ·Q.· · You raised your voice, but neither Eric nor
·2· ·Bridgette raised their voice in response.· Correct?
·3· · · ·A.· · No.· The idea when I say I raised my voice when
·4· ·I asked her to give me the real reason why y'all are
·5· ·terminating me.· I raised my voice then.· Then I
·6· ·basically told her, I said, "It all boils down to me
·7· ·being black" -- I'm just going to come out and say this.
·8· ·I'm sorry for saying this but "me being black.· I'm more
·9· ·qualified for the job and y'all are putting her over here
10· ·and she's not qualified and y'all know that she's not
11· ·qualified."· And basically I told them, "Y'all did this
12· ·for months and months and months.· The job stayed posted.
13· ·Took it off the board.· Put it back on the record.                      I
14· ·reapplied and still my qualifications -- how I know my
15· ·qualifications out-rise her during that time frame
16· ·because it come from her mouth, from LeAnn's mouth, the
17· ·one who took -- the one who is getting the position,
18· ·during that time frame."
19· · · · · · ·And excuse me that I'm getting hostile.
20· ·Sometime when I go back to that day, when I go back to
21· ·that day, it just does something to me because of the way
22· ·they did that.· I have never experienced that my whole
23· ·time, in my life.
24· · · · · · · · · MR. BIRRER:· Move to strike as
25· ·nonresponsive.

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·1· · · ·Q.· ·(BY MR. BIRRER) Mr. Davis, I'm going to -- the
·2· ·purpose of the deposition is for me to ask questions.                        I
·3· ·know that you're passionate about your case.· But if you
·4· ·could just listen to my questions and try to focus in on
·5· ·those question, I'd appreciate it.
·6· · · · · · ·And so have you now -- have you now testified
·7· ·as to everything you can recall during -- that was said
·8· ·during the termination meeting between yourself, Eric,
·9· ·and Bridgette?
10· · · ·A.· · Can you repeat that again?
11· · · ·Q.· · Sure.· You've testified already about there was
12· ·a termination meeting where you were present, Eric Wilson
13· ·was present, and Bridgette Hurst was present.· Correct?
14· · · ·A.· · That's correct.
15· · · ·Q.· · Okay.· And I've asked you what was said during
16· ·the meeting, and you've testified to that already.
17· ·Correct?
18· · · ·A.· · Correct.
19· · · ·Q.· · Is there anything else that you remember that
20· ·you haven't told me yet that was actually said during the
21· ·meeting?
22· · · ·A.· · That's everything, I assume.
23· · · ·Q.· · And so you have indicated that when you reflect
24· ·back on the date of your termination, you become upset.
25· ·And is the thing that upsets you just the fact that you

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·1· ·were terminated?
·2· · · ·A.· · No.· The thing that was making me upset because
·3· ·prior to that, they had an assistant plant manager.                       I
·4· ·used to go ask him -- I did the interview with him and
·5· ·all that stuff.· He told me, "Hey, you did perfect.· You
·6· ·did good.· Excellent."· I said, "Hey, when are you going
·7· ·to post the job?"· "Probably about two weeks."· Okay.                         I
·8· ·wait.
·9· · · · · · ·Then he say -- I go back in two weeks.· They
10· ·hadn't posted.· He said, "I don't know what they're
11· ·doing."· He said, "Check back with me."· I check back
12· ·with him.· Still don't know anything.
13· · · · · · ·So then when I found out that it come down
14· ·to -- boiled down to getting the position, it was between
15· ·me and LeAnn -- that's the female who got the job -- all
16· ·of a sudden I started seeing this -- excuse me.· I'm
17· ·getting a little emotional.· I'm sorry.
18· · · · · · ·Going back and forth, back and forth, I recall
19· ·going out to -- leaving the assistant plant manager's
20· ·office that day.· I ran across a guy who's name was Clint
21· ·Gilley.· His name was Clint Gilley.· He told me, "Neal,"
22· ·he said, "Bud, I know you're qualified for that job, but
23· ·you have" -- per his words, per our conversation -- "you
24· ·are not the right color and you are not the right gender
25· ·for that job."· And he said, "I know you're qualified for

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·1· ·it, but they ain't going to give it to you."
·2· · · ·Q.· · And what was Clint Gilley's job position?
·3· · · ·A.· · He was in the maintenance department.
·4· · · ·Q.· · He was an hourly, non-management employee?
·5· · · ·A.· · Yes, that's correct.
·6· · · ·Q.· · And what race is Clint Gilley?
·7· · · ·A.· · He's Caucasian.
·8· · · ·Q.· · So you don't have any reason to think that
·9· ·Clint Gilley was involved in the decision-making process
10· ·on who to hire for the planner position.· Correct?
11· · · ·A.· · That's correct.
12· · · ·Q.· · So I just want to make -- you've had a lot of
13· ·testimony.· I just want to make sure I get the facts down
14· ·right about what was said.· So on the day of your
15· ·termination, Bridgette Hurst came to you and said, "I
16· ·need you to come meet with myself and Eric Wilson."· You
17· ·walked into Eric Wilson's office with Bridgette, and the
18· ·three of you had a meeting.· Correct?
19· · · ·A.· · That's correct.
20· · · ·Q.· · And at that meeting, Bridgette had documents
21· ·which you recall she handed to Eric Wilson.· Correct?
22· · · ·A.· · That's correct.
23· · · ·Q.· · And at the meeting, Eric read from the
24· ·documents to you, and you perceived him as becoming
25· ·upset.· Correct?· Is that correct?

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·1· · · ·A.· · Not absolutely.· As Eric proceeded to read it,
·2· ·he couldn't read it.
·3· · · ·Q.· · Okay.
·4· · · ·A.· · He got too emotional.· Bridgette had to finish
·5· ·it up.
·6· · · ·Q.· · Okay.· So then Bridgette took the document and
·7· ·finished giving you -- reading the document to you.· Is
·8· ·that correct?
·9· · · ·A.· · That's correct.
10· · · ·Q.· · And then after Bridgette finished reading the
11· ·document to you, she made the statement that said that
12· ·there are other things outside those gates or something
13· ·to that effect.· Correct?
14· · · ·A.· · That's correct.
15· · · ·Q.· · And then was that the end of the meeting?
16· · · ·A.· · Yes, that was the end of the meeting.· Then she
17· ·proceeded me to my office to get my things.
18· · · ·Q.· · Okay.· So have we just done a nice recitation
19· ·from when Bridgette got you in the facility until when
20· ·she walked you out of that meeting to get your stuff?
21· · · ·A.· · That's correct.
22· · · ·Q.· · Okay.· Did I leave anything out?· This is my
23· ·chance to ask you questions.
24· · · ·A.· · To the best of my knowledge, you hit it.
25· · · ·Q.· · Okay.· Great.· And you said at one point at the

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·1· ·meeting, you asked to talk to the plant manager, Randy
·2· ·Walsher.· Is that correct?
·3· · · ·A.· · That's correct.
·4· · · ·Q.· · And when did you speak with Randy, if ever?
·5· · · ·A.· · When I got down to the office, I knew he was
·6· ·there.· But the second chair basically said that he was
·7· ·tied up.· I said, "Okay.· I'll wait."· And I waited and
·8· ·waited, and he never talked to me.
·9· · · ·Q.· · Okay.· So once again, if you could just try to
10· ·answer the question that I ask.
11· · · · · · ·So on the day of your termination, you never
12· ·spoke with the plant manager.· Correct?
13· · · ·A.· · Correct.
14· · · ·Q.· · And then you left the facility.· Is that right?
15· · · ·A.· · Correct.
16· · · ·Q.· · And when is the next time you spoke with Eric
17· ·Wilson?
18· · · ·A.· · I spoke to Eric Wilson the same night.· Same
19· ·day.
20· · · ·Q.· · By telephone?
21· · · ·A.· · By telephone.
22· · · ·Q.· · So you called him from your cell phone?
23· · · ·A.· · No, he called me.
24· · · ·Q.· · On your cell phone?
25· · · ·A.· · Yes.

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·1· ·talked to Jason Crowther and you said you thought you
·2· ·were being discriminated against?
·3· · · ·A.· · Correct.
·4· · · ·Q.· · And he said he disagreed with you and said,
·5· ·"We'll talk about it later," and that conversation never
·6· ·happened again?
·7· · · ·A.· · That's correct.
·8· · · ·Q.· · So beyond those two incidents, you don't recall
·9· ·ever having a conversation with anyone else in management
10· ·where you alleged that you thought you were being
11· ·discriminated against.· Correct?
12· · · ·A.· · Correct.
13· · · ·Q.· · So did Eric Wilson ever make a comment to you
14· ·that you thought was discriminatory in any way?
15· · · ·A.· · Not as I recall.
16· · · ·Q.· · Did Bridgette Hurst ever make a comment to you
17· ·that you thought was discriminatory?
18· · · ·A.· · Yes.
19· · · ·Q.· · What did Bridgette say that you thought was
20· ·discriminatory?
21· · · ·A.· · When she basically told me that "You won't get
22· ·promoted.· The best way to get promoted is out that
23· ·gate."
24· · · ·Q.· · Any other comment that you contend that
25· ·Bridgette Hurst made that you thought was discriminatory?

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·1· ·management ever saying anything belittling or tending to
·2· ·make you think that you were being treated less favorably
·3· ·based on your gender?
·4· · · ·A.· · Yes.
·5· · · ·Q.· · And who was that?
·6· · · ·A.· · Clint Gilley.
·7· · · ·Q.· · And that's the maintenance worker?
·8· · · ·A.· · Correct.
·9· · · ·Q.· · He's not a member of management.· Correct?
10· · · ·A.· · Correct.
11· · · ·Q.· · Okay.· I was asking is there anyone who's a
12· ·member of management at Martin Marietta who ever said
13· ·anything to you that you thought was belittling or
14· ·indicating they were treating you less favorably based on
15· ·your gender?
16· · · ·A.· · Other than Bridgette, no.
17· · · ·Q.· · Well, when you say "other than Bridgette,"
18· ·you're talking about the comment where she said, "Your
19· ·best opportunities would be out the gate"?
20· · · ·A.· · Yes.
21· · · ·Q.· · But that's all she said?· That's what you're
22· ·focused on, the comment "Your best opportunities are
23· ·outside that gate"?
24· · · ·A.· · Well, to a certain extent.· Basically she said,
25· ·"Hey, you think you deserve more or want to get promoted?

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·1· ·Your best opportunity is outside that gate."· And to me,
·2· ·I took it that I don't have a chance here.· That's the
·3· ·way I took it.· Basically if she's the human resource
·4· ·manager, she's saying, "Hey, that's basically a warning.
·5· ·You want to get promoted, you're going to have to leave."
·6· ·That's the way I took it.
·7· · · ·Q.· · Well, it wasn't a warning; she had already
·8· ·fired you when she said that.· Correct?
·9· · · ·A.· · Well, I can't recall before that.· I want to
10· ·say that conversation happened before the firing, and
11· ·then she said it again at the firing.
12· · · ·Q.· · Okay.· So the only comment that Bridgette Hurst
13· ·made that you take issue with is she said if you want
14· ·promotional opportunities, it would be best to look
15· ·somewhere other than Martin Marietta.· Is that correct?
16· · · ·A.· · That's correct.
17· · · ·Q.· · Okay.· And I want to ask you, are you aware of
18· ·anyone in the Midlothian office who was an hourly
19· ·employee in the warehouse who was promoted into a
20· ·management position?
21· · · ·A.· · Yes.
22· · · ·Q.· · Who?
23· · · ·A.· · Jeff Simmons, maintenance guy.
24· · · ·Q.· · Say it again.
25· · · ·A.· · Jeff Simmons was an hourly guy that got

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                                                    Date:             3/1/2013                                      Date:      1/25/2016
                                                                     Charge to                    Pay               Work
                                                   Home Business     Business                     Clas              Order    Date                  PDBA         PDBA                                                         Uprate    Adjusted
Employee NEmployee Name   Group Reg Div    Dist    Unit              Unit       Obj Acct Dept     s    Check Date   Number   Worked      Base Pay RCode         Description  Pay Rate Shift Code   Shift Descr Shift Diff.   Amount    Pay Rate    Gross Pay Hours
  725641 DAVIS, NEAL         10    9    10      56          54732         54558     41010      70 H      3/6/2015               3/1/2015     17.19        100   Overtime 1.5    25.785             No Shift                               25.785      158.58       6.15
  725641 DAVIS, NEAL         10    9    10      56          54732         54558     41005      70 H      3/6/2015               3/1/2015     17.19          1   Regular 1        17.19             No Shift                                17.19      548.88     31.93
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41005     801 H     10/3/2014              9/28/2014     16.57          1   Regular 1        16.57             No Shift                                16.57       662.8         40
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41010     801 H     10/3/2014              9/28/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855      198.34       7.98
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41045     899 H    10/24/2014             10/14/2014                  655   Plant Incent                       No Shift                                           193.85
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41045     831 H    11/14/2014              11/7/2014                  655   Plant Incent                       No Shift                                           305.12
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     51045         H    12/19/2014              12/8/2014                  655   Plant Incent                       No Shift                                           112.47
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41005     899 H    12/19/2014             12/14/2014     17.19          1   Regular 1        17.19             No Shift                                17.19       687.6         40
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41010     899 H    12/19/2014             12/14/2014     17.19        100   Overtime 1.5    25.785             No Shift                               25.785      250.63       9.72
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41005     899 H    12/26/2014             12/21/2014     17.19          1   Regular 1        17.19             No Shift                                17.19       687.6         40
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41010     899 H    12/26/2014             12/21/2014     17.19        100   Overtime 1.5    25.785             No Shift                               25.785      141.04       5.47
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41005     899 H      1/2/2015             12/28/2014     17.19          1   Regular 1        17.19             No Shift                                17.19      137.52          8
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41010     899 H      1/2/2015             12/28/2014     17.19        100   Overtime 1.5    25.785             No Shift                               25.785       25.79          1
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41035     899 H      1/2/2015             12/28/2014     17.19        210   Holiday          17.19             No Shift                                17.19      275.04         16

  725641 DAVIS, NEAL         20   40    20     61            54732      54732     41030       899 H      1/2/2015             12/28/2014    17.19         805 VacH-PriorYr       17.19             No Shift                                17.19      275.04        16
  725641 DAVIS, NEAL         20   40    20     61            54732      54732     41035       899 H      1/9/2015               1/4/2015    17.19         210 Holiday            17.19             No Shift                                17.19      137.52         8

  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41030       899   H    1/9/2015               1/4/2015    17.19         805   VacH-PriorYr     17.19             No Shift                                17.19      550.08        32
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41045       899   H   1/16/2015               1/9/2015                  655   Plant Incent                       No Shift                                            77.46
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   1/16/2015              1/11/2015    17.19           1   Regular 1        17.19             No Shift                                17.19       687.6        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   1/16/2015              1/11/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      235.16      9.12
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   1/23/2015              1/18/2015    17.19           1   Regular 1        17.19             No Shift                                17.19       687.6        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   1/23/2015              1/18/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      512.61     19.88
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   1/30/2015              1/25/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      409.21     15.87
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   1/30/2015              1/25/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785        0.52      0.02
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   1/30/2015              1/25/2015    17.19           1   Regular 1        17.19             No Shift                                17.19      687.26     39.98
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H    2/6/2015               2/1/2015    17.19           1   Regular 1        17.19             No Shift                                17.19       687.6        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H    2/6/2015               2/1/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      228.71      8.87
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   2/13/2015               2/8/2015    17.19           1   Regular 1        17.19             No Shift                                17.19       687.6        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   2/13/2015               2/8/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      393.74     15.27

  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41045       899 H     2/13/2015               2/8/2015                  610   Suppl Bonus                        No Shift                                           198.98
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899 H     2/20/2015              2/15/2015    17.19           1   Regular 1        17.19             No Shift                                17.19      278.82     16.22
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899 H     2/20/2015              2/15/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785       91.54      3.55
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41057       899 H     2/20/2015              2/15/2015    17.19         800   VacH-Cur Yr      17.19             No Shift                                17.19      275.04        16
  725641   DAVIS, NEAL       20   40    20     61            54732      54732                     H     2/27/2015              2/22/2015    17.19           1   Regular 1        17.19             No Shift                                17.19
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41057       899 H      3/6/2015               3/1/2015    17.19         800   VacH-Cur Yr      17.19             No Shift                                17.19     -275.04        -16
                                                                                                                                                                S&A 60%
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41040       899   H    3/6/2015               3/1/2015    17.19         300   FMLA            10.314             No Shift                               10.314      742.61        72
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   3/13/2015               3/8/2015    17.19           1   Regular 1        17.19             No Shift                                17.19      677.29      39.4
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   3/13/2015               3/8/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      270.74      10.5
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   3/13/2015               3/8/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785       15.47       0.6
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   3/20/2015              3/15/2015    17.19           1   Regular 1        17.19             No Shift                                17.19      686.74     39.95
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   3/20/2015              3/15/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785        1.29      0.05
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   3/20/2015              3/15/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      364.34     14.13
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   3/27/2015              3/26/2015    17.19           1   Regular 1        17.19             No Shift                                17.19      687.26     39.98
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   3/27/2015              3/26/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      346.29     13.43
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   3/27/2015              3/26/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785        0.52      0.02
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H    4/3/2015              3/29/2015                    1   Regular 1                          No Shift                                            687.6        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H    4/3/2015              3/29/2015                  100   Overtime 1.5                       No Shift                                           619.27     24.02
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   4/10/2015               4/5/2015    17.19           1   Regular 1        17.19             No Shift                                17.19      412.56        24
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   4/10/2015               4/5/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      185.14      7.18
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41035       899   H   4/10/2015               4/5/2015    17.19         210   Holiday          17.19             No Shift                                17.19      137.52         8
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41057       899   H   4/10/2015               4/5/2015    17.19         800   VacH-Cur Yr      17.19             No Shift                                17.19      137.52         8




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                                                    Date:             3/1/2013                                      Date:      1/25/2016
                                                                     Charge to                    Pay               Work
                                                   Home Business     Business                     Clas              Order    Date                  PDBA         PDBA                                                         Uprate    Adjusted
Employee NEmployee Name   Group Reg Div    Dist    Unit              Unit       Obj Acct Dept     s    Check Date   Number   Worked      Base Pay RCode         Description  Pay Rate Shift Code   Shift Descr Shift Diff.   Amount    Pay Rate    Gross Pay Hours
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41005     899 H     4/17/2015              4/12/2015     17.19          1   Regular 1        17.19             No Shift                                17.19      676.43     39.35
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41010     899 H     4/17/2015              4/12/2015     17.19        100   Overtime 1.5    25.785             No Shift                               25.785      715.02     27.73
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41010     899 H     4/17/2015              4/12/2015     17.19        100   Overtime 1.5    25.785             No Shift                               25.785       16.76       0.65
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41005     899 H     4/24/2015              4/19/2015     17.19          1   Regular 1        17.19             No Shift                                17.19      686.22     39.92
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41010     899 H     4/24/2015              4/19/2015     17.19        100   Overtime 1.5    25.785             No Shift                               25.785        2.06       0.08
  725641 DAVIS, NEAL         20   40    20      61          54732         54732     41010     899 H     4/24/2015              4/19/2015     17.19        100   Overtime 1.5    25.785             No Shift                               25.785      461.55       17.9

  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41045       899   H   4/24/2015              4/19/2015                  610   Suppl Bonus                        No Shift                                            90.96
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H    5/1/2015              4/26/2015    17.19           1   Regular 1        17.19             No Shift                                17.19       687.6        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H    5/1/2015              4/26/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785        3.35      0.13
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H    5/1/2015              4/26/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      299.62     11.62
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H    5/8/2015               5/3/2015    17.19           1   Regular 1        17.19             No Shift                                17.19       687.6        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H    5/8/2015               5/3/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785        0.52      0.02
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H    5/8/2015               5/3/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      266.36     10.33

  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41045       899   H   5/15/2015              5/10/2015                  610   Suppl Bonus                        No Shift                                              102
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   5/15/2015              5/10/2015    17.19           1   Regular 1        17.19             No Shift                                17.19       687.6        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   5/15/2015              5/10/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785        3.09      0.12
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   5/15/2015              5/10/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      339.85     13.18
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   5/22/2015              5/17/2015    17.19           1   Regular 1        17.19             No Shift                                17.19       687.6        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   5/22/2015              5/17/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785        6.45      0.25
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   5/22/2015              5/17/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      172.24      6.68
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   5/29/2015              5/24/2015    17.19           1   Regular 1        17.19             No Shift                                17.19       687.6        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   5/29/2015              5/24/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      399.15     15.48
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H    6/5/2015              5/31/2015    17.19           1   Regular 1        17.19             No Shift                                17.19      412.56        24
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H    6/5/2015              5/31/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785      300.91     11.67
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41035       899   H    6/5/2015              5/31/2015    17.19         210   Holiday          17.19             No Shift                                17.19      137.52         8
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41057       899   H    6/5/2015              5/31/2015    17.19         800   VacH-Cur Yr      17.19             No Shift                                17.19      137.52         8
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   6/12/2015               6/7/2015    17.19           1   Regular 1        17.19             No Shift                                17.19       687.6        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   6/12/2015               6/7/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785       213.5      8.28
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   6/12/2015               6/7/2015    17.19         100   Overtime 1.5    25.785             No Shift                               25.785        4.38      0.17
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   6/19/2015              6/14/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7      707.65     39.98
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   6/19/2015              6/14/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55        0.53      0.02
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   6/19/2015              6/14/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      558.35     21.03

  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41045       899   H   6/19/2015              6/14/2015                  610   Suppl Bonus                        No Shift                                           106.11
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41005       899   H   6/26/2015              6/21/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54732      54732     41010       899   H   6/26/2015              6/21/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      504.98     19.02
  725641   DAVIS, NEAL       20   40    20     61            54731      54732     41005       899   H    7/3/2015              6/28/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54732     41010       899   H    7/3/2015              6/28/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      267.36     10.07
  725641   DAVIS, NEAL       20   40    20     61            54731      54732     41010       899   H    7/3/2015              6/28/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55        3.45      0.13
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H   7/10/2015               7/5/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7      424.27     23.97
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   7/10/2015               7/5/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      190.36      7.17
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   7/10/2015               7/5/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55         0.8      0.03
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41035       899   H   7/10/2015               7/5/2015     17.7         210   Holiday           17.7             No Shift                                 17.7       141.6         8
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41057       899   H   7/10/2015               7/5/2015     17.7         800   VacH-Cur Yr       17.7             No Shift                                 17.7       141.6         8
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H   7/17/2015              7/12/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   7/17/2015              7/12/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      283.55     10.68

  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41045       899   H   7/24/2015              7/19/2015                  610   Suppl Bonus                        No Shift                                            94.16
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H   7/24/2015              7/19/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7      565.87     31.97
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   7/24/2015              7/19/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      362.94     13.67
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   7/24/2015              7/19/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55         0.8      0.03
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41057       899   H   7/24/2015              7/19/2015     17.7         800   VacH-Cur Yr       17.7             No Shift                                 17.7       141.6         8
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H   7/31/2015              7/26/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40




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                                                    Date:             3/1/2013                                       Date:      1/25/2016
                                                                     Charge to                    Pay                Work
                                                   Home Business     Business                     Clas               Order    Date                  PDBA         PDBA                                                         Uprate    Adjusted
Employee NEmployee Name   Group Reg Div    Dist    Unit              Unit       Obj Acct Dept     s    Check Date    Number   Worked      Base Pay RCode         Description  Pay Rate Shift Code   Shift Descr Shift Diff.   Amount    Pay Rate    Gross Pay Hours
  725641 DAVIS, NEAL         20   40    20      61          54731         54731     41010     899 H     7/31/2015               7/26/2015      17.7        100   Overtime 1.5     26.55             No Shift                                26.55      285.41     10.75
  725641 DAVIS, NEAL         20   40    20      61          54731         54731     41005     899 H      8/7/2015                8/2/2015      17.7          1   Regular 1         17.7             No Shift                                 17.7      566.05     31.98
  725641 DAVIS, NEAL         20   40    20      61          54731         54731     41010     899 H      8/7/2015                8/2/2015      17.7        100   Overtime 1.5     26.55             No Shift                                26.55      212.93       8.02
  725641 DAVIS, NEAL         20   40    20      61          54731         54731     41010     899 H      8/7/2015                8/2/2015      17.7        100   Overtime 1.5     26.55             No Shift                                26.55       84.16       3.17
  725641 DAVIS, NEAL         20   40    20      61          54731         54731     41005     899 H     8/14/2015                8/9/2015      17.7          1   Regular 1         17.7             No Shift                                 17.7       566.4         32
  725641 DAVIS, NEAL         20   40    20      61          54731         54731     41010     899 H     8/14/2015                8/9/2015      17.7        100   Overtime 1.5     26.55             No Shift                                26.55      258.07       9.72
  725641 DAVIS, NEAL         20   40    20      61          54731         54731     41057     899 H     8/14/2015                8/9/2015      17.7        800   VacH-Cur Yr       17.7             No Shift                                 17.7       141.6          8

  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41045       899   H    8/21/2015              8/16/2015                  610   Suppl Bonus                        No Shift                                           159.33
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H    8/21/2015              8/16/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7      707.65     39.98
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H    8/21/2015              8/16/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55        0.53      0.02
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H    8/21/2015              8/16/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      746.59     28.12
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H    8/28/2015              8/23/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H    8/28/2015              8/23/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      487.19     18.35
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H     9/4/2015              8/30/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H     9/4/2015              8/30/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      818.54     30.83
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H    9/11/2015               9/6/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H    9/11/2015               9/6/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      525.16     19.78

  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41045       899   H    9/11/2015               9/6/2015                  610   Suppl Bonus                        No Shift                                           241.09
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H    9/18/2015              9/13/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7       424.8        24
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H    9/18/2015              9/13/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      299.48     11.28
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41035       899   H    9/18/2015              9/13/2015     17.7         210   Holiday           17.7             No Shift                                 17.7       141.6         8
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41057       899   H    9/18/2015              9/13/2015     17.7         800   VacH-Cur Yr       17.7             No Shift                                 17.7       141.6         8
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H    9/25/2015              9/20/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H    9/25/2015              9/20/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      509.76      19.2
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H    10/2/2015              9/27/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H    10/2/2015              9/27/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      530.47     19.98
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H    10/2/2015              9/27/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      931.11     35.07
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H    10/9/2015              10/4/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H    10/9/2015              10/4/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55       848.8     31.97
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H    10/9/2015              10/4/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55       236.3       8.9
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H   10/16/2015             10/11/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   10/16/2015             10/11/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55     1279.71      48.2
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   10/16/2015             10/11/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55       66.38       2.5

  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41045       899   H   10/16/2015             10/11/2015                  610   Suppl Bonus                        No Shift                                           107.33
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H   10/23/2015             10/18/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   10/23/2015             10/18/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      476.57     17.95
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   10/23/2015             10/18/2015     17.7         102   Call-In 1.5      26.55             No Shift                                26.55       106.2         4
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H   10/30/2015             10/25/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   10/30/2015             10/25/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      181.34      6.83
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H    11/6/2015              11/1/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H    11/6/2015              11/1/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      722.16      27.2
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H   11/13/2015              11/8/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7      707.65     39.98
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   11/13/2015              11/8/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55        0.53      0.02
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   11/13/2015              11/8/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55         758     28.55
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H   11/20/2015             11/15/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   11/20/2015             11/15/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      677.82     25.53
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H   11/27/2015             11/22/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7         708        40
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   11/27/2015             11/22/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55      478.43     18.02
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41035       899   H    12/4/2015             11/29/2015     17.7         210   Holiday           17.7             No Shift                                 17.7       283.2        16
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41057       899   H    12/4/2015             11/29/2015     17.7         800   VacH-Cur Yr       17.7             No Shift                                 17.7       424.8        24
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41005       899   H   12/11/2015              12/6/2015     17.7           1   Regular 1         17.7             No Shift                                 17.7      707.47     39.97
  725641   DAVIS, NEAL       20   40    20     61            54731      54731     41010       899   H   12/11/2015              12/6/2015     17.7         100   Overtime 1.5     26.55             No Shift                                26.55       864.2     32.55




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                                                   From Check                                                 To Check
                                                   Date:           3/1/2013                                   Date:      1/25/2016
                                                                  Charge to                   Pay             Work
                                                   Home Business Business                     Clas            Order    Date                  PDBA     PDBA                                                         Uprate    Adjusted
Employee NEmployee Name   Group Reg Div    Dist    Unit           Unit       Obj Acct Dept    s    Check Date Number   Worked      Base Pay RCode     Description  Pay Rate Shift Code   Shift Descr Shift Diff.   Amount    Pay Rate    Gross Pay Hours
  725641 DAVIS, NEAL         20   40    20      61          54731      54731     41010     899H    12/11/2015            12/6/2015      17.7      100 Overtime 1.5     26.55             No Shift                                26.55          0.8      0.03
                                                                                                                                                      VacH
  725641 DAVIS, NEAL         20   40    20    61            54731    54731     41057      899 H    12/11/2015            12/6/2015      17.7      810 Payout            17.7             No Shift                                 17.7       141.6         8
  725641 DAVIS, NEAL         20   40    20    61            54731    54731     41005      899 H    12/18/2015           12/13/2015      17.7        1 Regular 1         17.7             No Shift                                 17.7         708        40
  725641 DAVIS, NEAL         20   40    20    61            54731    54731     41010      899 H    12/18/2015           12/13/2015      17.7      100 Overtime 1.5     26.55             No Shift                                26.55      693.75     26.13

  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41045      899    H   12/18/2015         12/13/2015                610   Suppl Bonus                      No Shift                                           117.74
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41005      899    H   12/24/2015         12/20/2015      17.7        1   Regular 1        17.7            No Shift                                 17.7      707.47     39.97
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41010      899    H   12/24/2015         12/20/2015      17.7      100   Overtime 1.5    26.55            No Shift                                26.55         0.8      0.03
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41010      899    H   12/24/2015         12/20/2015      17.7      100   Overtime 1.5    26.55            No Shift                                26.55      811.63     30.57
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41035      899    H   12/31/2015         12/27/2015      17.7      210   Holiday          17.7            No Shift                                 17.7       283.2        16
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41057      899    H   12/31/2015         12/27/2015      17.7      800   VacH-Cur Yr      17.7            No Shift                                 17.7       424.8        24
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41005      899    H     1/8/2016           1/3/2016      17.7        1   Regular 1        17.7            No Shift                                 17.7       283.2        16
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41010      899    H     1/8/2016           1/3/2016      17.7      100   Overtime 1.5    26.55            No Shift                                26.55      301.34     11.35
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41035      899    H     1/8/2016           1/3/2016      17.7      210   Holiday          17.7            No Shift                                 17.7       141.6         8

  725641 DAVIS, NEAL         20   40    20    61            54731    54731     41057      899 H        1/8/2016           1/1/2016      17.7      805 VacH-PriorYr       17.7            No Shift                                 17.7       283.2        16

  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41045      899    H    1/15/2016          1/10/2016                610   Suppl Bonus                      No Shift                                           127.24
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41005      899    H    1/15/2016          1/10/2016      17.7        1   Regular 1        17.7            No Shift                                 17.7      706.58     39.92
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41010      899    H    1/15/2016          1/10/2016      17.7      100   Overtime 1.5    26.55            No Shift                                26.55      409.67     15.43
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41010      899    H    1/15/2016          1/10/2016      17.7      100   Overtime 1.5    26.55            No Shift                                26.55        2.12      0.08
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41005      899    H    1/22/2016          1/17/2016      17.7        1   Regular 1        17.7            No Shift                                 17.7      707.12     39.95
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41010      899    H    1/22/2016          1/17/2016      17.7      100   Overtime 1.5    26.55            No Shift                                26.55      368.25     13.87
  725641   DAVIS, NEAL       20   40    20    61            54731    54731     41010      899    H    1/22/2016          1/17/2016      17.7      100   Overtime 1.5    26.55            No Shift                                26.55        1.33      0.05
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H   11/21/2014         11/16/2014    25.785      100   Overtime 1.5   25.785            No Shift                               25.785       27.85      1.08
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H   11/21/2014         11/16/2014    25.785      100   Overtime 1.5   25.785            No Shift                               25.785      466.19     18.08
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51005             H   11/28/2014         11/23/2014     17.19        1   Regular 1       17.19            No Shift                                17.19       687.6        40
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H   11/28/2014         11/23/2014    25.785      100   Overtime 1.5   25.785            No Shift                               25.785      235.93      9.15
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51005             H    12/5/2014         11/30/2014     17.19        1   Regular 1       17.19            No Shift                                17.19      412.56        24
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H    12/5/2014         11/30/2014    25.785      100   Overtime 1.5   25.785            No Shift                               25.785       12.89       0.5
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H    12/5/2014         11/30/2014    25.785      100   Overtime 1.5   25.785            No Shift                               25.785      157.29       6.1
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51035             H    12/5/2014         11/30/2014     17.19      210   Holiday         17.19            No Shift                                17.19      275.04        16
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51005             H   12/12/2014          12/7/2014     17.19        1   Regular 1       17.19            No Shift                                17.19      547.85     31.87
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H   12/12/2014          12/7/2014    25.785      100   Overtime 1.5   25.785            No Shift                               25.785       78.13      3.03
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H   12/12/2014          12/7/2014    25.785      100   Overtime 1.5   25.785            No Shift                               25.785      209.63      8.13
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51030             H   12/12/2014          12/7/2014     17.19      800   VacH-Cur Yr     17.19            No Shift                                17.19      137.52         8
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51005             H    6/30/2014          6/30/2014                  1   Regular 1                        No Shift                                         15079.35    910.04
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H    6/30/2014          6/30/2014                100   Overtime 1.5                     No Shift                                          2937.96    118.18
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H    6/30/2014          6/30/2014                100   Overtime 1.5                     No Shift                                           779.13     31.34
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H    6/30/2014          6/30/2014                100   Overtime 1.5                     No Shift                                          2304.51      92.7
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51035             H    6/30/2014          6/30/2014                210   Holiday                          No Shift                                            662.8        40
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51045             H    6/30/2014          6/30/2014                220   Jury Duty                        No Shift                                           132.56         8
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51045             H    6/30/2014          6/30/2014                608   TXI Corp IC                      No Shift                                           250.69
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51045             H    6/30/2014          6/30/2014                675   TXI Prod IC                      No Shift                                          3931.99
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51057             H    6/30/2014          6/30/2014                800   VacH-Cur Yr                      No Shift                                            662.8        40

  725641 DAVIS, NEAL         99   99    99    99            54071    54071     51045             H    6/30/2014          6/30/2014                990 TXI-OtherPay                       No Shift                                           434.63     26.23

  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51045             H    6/30/2014          6/30/2014                990   TXI-OtherPay                     No Shift                                           132.56         8
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51005             H    7/18/2014          7/18/2014                  1   Regular 1                        No Shift                                          2235.79    134.93
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H    7/18/2014          7/18/2014                100   Overtime 1.5                     No Shift                                            24.86         1
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H    7/18/2014          7/18/2014                100   Overtime 1.5                     No Shift                                           378.37     15.22
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51010             H    7/18/2014          7/18/2014                100   Overtime 1.5                     No Shift                                           330.14     13.28
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51035             H    7/18/2014          7/18/2014                210   Holiday                          No Shift                                           132.56         8
  725641   DAVIS, NEAL       99   99    99    99            54071    54071     51057             H    7/18/2014          7/18/2014                800   VacH-Cur Yr                      No Shift                                           265.12        16




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                                                  Date:              3/1/2013                                  Date:      1/25/2016
                                                                    Charge to                  Pay             Work
                                                   Home Business    Business                   Clas            Order    Date                  PDBA         PDBA                                                         Uprate    Adjusted
Employee NEmployee Name   Group Reg Div    Dist    Unit             Unit       Obj Acct Dept   s    Check Date Number   Worked      Base Pay RCode         Description  Pay Rate Shift Code   Shift Descr Shift Diff.   Amount    Pay Rate    Gross Pay Hours
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H     7/25/2014            7/20/2014     16.57          1   Regular 1        16.57             No Shift                                16.57      132.56          8
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H     7/25/2014            7/20/2014     16.57          1   Regular 1        16.57             No Shift                                16.57      530.24         32
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H     7/25/2014            7/20/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855        4.23       0.17
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H     7/25/2014            7/20/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855       128.5       5.17
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H      8/1/2014            7/27/2014     16.57          1   Regular 1        16.57             No Shift                                16.57      530.24         32
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H      8/1/2014            7/27/2014     16.57          1   Regular 1        16.57             No Shift                                16.57      132.56          8
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H      8/1/2014            7/27/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855      106.13       4.27
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H      8/1/2014            7/27/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855       13.17       0.53
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H      8/8/2014             8/3/2014     16.57          1   Regular 1        16.57             No Shift                                16.57       662.8         40
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H      8/8/2014             8/3/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855       12.43        0.5
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H      8/8/2014             8/3/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855      134.22        5.4
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H     8/15/2014            8/10/2014     16.57          1   Regular 1        16.57             No Shift                                16.57       662.8         40
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H     8/15/2014            8/10/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855      394.45     15.87
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H     8/22/2014            8/17/2014     16.57          1   Regular 1        16.57             No Shift                                16.57       662.8         40
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H     8/22/2014            8/17/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855      350.95     14.12
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H     8/29/2014            8/24/2014     16.57          1   Regular 1        16.57             No Shift                                16.57       662.8         40
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H     8/29/2014            8/24/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855      200.83       8.08
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H      9/5/2014            8/31/2014     16.57          1   Regular 1        16.57             No Shift                                16.57       662.8         40
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H      9/5/2014            8/31/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855       12.43        0.5
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H      9/5/2014            8/31/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855      148.38       5.97
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H     9/12/2014             9/7/2014     16.57          1   Regular 1        16.57             No Shift                                16.57      530.24         32
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H     9/12/2014             9/7/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855      412.59       16.6
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51035       H     9/12/2014             9/7/2014     16.57        210   Holiday          16.57             No Shift                                16.57      132.56          8
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H     9/19/2014            9/14/2014     16.57          1   Regular 1        16.57             No Shift                                16.57      662.47     39.98
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H     9/19/2014            9/14/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855          0.5      0.02
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H     9/19/2014            9/14/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855      187.16       7.53
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H     9/26/2014            9/21/2014     16.57          1   Regular 1        16.57             No Shift                                16.57      530.24         32
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H     9/26/2014            9/21/2014    24.855        100   Overtime 1.5    24.855             No Shift                               24.855      189.64       7.63
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51030       H     9/26/2014            9/21/2014     16.57        800   VacH-Cur Yr      16.57             No Shift                                16.57      132.56          8
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H    10/10/2014            10/5/2014     17.19          1   Regular 1        17.19             No Shift                                17.19       687.6         40
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H    10/10/2014            10/5/2014    25.785        100   Overtime 1.5    25.785             No Shift                               25.785      448.66       17.4
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H    10/17/2014           10/12/2014     17.19          1   Regular 1        17.19             No Shift                                17.19      687.26     39.98
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H    10/17/2014           10/12/2014    25.785        100   Overtime 1.5    25.785             No Shift                               25.785        0.52       0.02
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H    10/17/2014           10/12/2014    25.785        100   Overtime 1.5    25.785             No Shift                               25.785      185.65        7.2
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H    10/24/2014           10/19/2014     17.19          1   Regular 1        17.19             No Shift                                17.19      550.08         32
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H    10/24/2014           10/19/2014    25.785        100   Overtime 1.5    25.785             No Shift                               25.785      206.28          8
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H    10/24/2014           10/19/2014    25.785        100   Overtime 1.5    25.785             No Shift                               25.785      228.97       8.88
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51030       H    10/24/2014           10/19/2014     17.19        800   VacH-Cur Yr      17.19             No Shift                                17.19      137.52          8
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H    10/31/2014           10/26/2014     17.19          1   Regular 1        17.19             No Shift                                17.19       687.6         40
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H    10/31/2014           10/26/2014    25.785        100   Overtime 1.5    25.785             No Shift                               25.785      228.97       8.88
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H     11/7/2014            11/2/2014     17.19          1   Regular 1        17.19             No Shift                                17.19      687.08     39.97
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H     11/7/2014            11/2/2014    25.785        100   Overtime 1.5    25.785             No Shift                               25.785        0.77       0.03
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H     11/7/2014            11/2/2014    25.785        100   Overtime 1.5    25.785             No Shift                               25.785      357.12     13.85
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H    11/14/2014            11/9/2014     17.19          1   Regular 1        17.19             No Shift                                17.19       687.6         40
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H    11/14/2014            11/9/2014    25.785        100   Overtime 1.5    25.785             No Shift                               25.785      498.42     19.33
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51010       H    11/14/2014            11/9/2014    25.785        100   Overtime 1.5    25.785             No Shift                               25.785      887.52     34.42
  725641 DAVIS, NEAL         99   99    99      99          54071        54071     51005       H    11/21/2014           11/16/2014     17.19          1   Regular 1        17.19             No Shift                                17.19       687.6         40




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·1· · · ·Q.· · That's not correct, is it?
·2· · · ·A.· · Yes, it is.
·3· · · ·Q.· · You got paid overtime every week.· Correct?
·4· · · ·A.· · I worked -- that's the reason I said I want to
·5· ·go back to Exhibit 10.
·6· · · ·Q.· · I want you to answer my questions.
·7· · · · · · ·So you were paid overtime almost every week.
·8· ·Correct?
·9· · · ·A.· · Almost, correct.
10· · · ·Q.· · In fact, we went through where there were --
11· ·that one thing that we looked at where there were
12· ·multiple days where you worked over ten hours in a day.
13· ·Correct?
14· · · ·A.· · Correct.
15· · · ·Q.· · And you agreed with me that when you worked
16· ·over eight hours, you got paid the overtime.· Correct?
17· · · ·A.· · That's the part I say I want to go back to.
18· ·Because even though I worked and clocked out, I was
19· ·called back to -- "Hey, I need you to stay over to
20· ·offload a truck.· We got a person that's called in."
21· ·That's the time I'm complaining about I wasn't paid for.
22· · · ·Q.· · So let me press pause then.· So what you're
23· ·saying is that you would -- like after 12 hours or 10
24· ·hours or 11 hours, on occasion you would either go the
25· ·two-minute walk away from the warehouse or the

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·1· · · ·Q.· · You just don't remember?
·2· · · ·A.· · Yeah.· Yes, I do remember now.
·3· · · ·Q.· · Okay.
·4· · · ·A.· · Looking over the document here, there's
·5· ·something I'd like to go back to on Exhibit 10.
·6· · · ·Q.· · Let's hold on and let me ask you some questions
·7· ·first.
·8· · · ·A.· · Okay.
·9· · · · · · · · · (Exhibit No. 31 was marked.)
10· · · ·Q.· · I'm going to show you what's been marked as
11· ·Deposition Exhibit 31.· Is Deposition Exhibit 31 a true
12· ·and correct copy of your Second Amended Objections and
13· ·Responses to Interrogatories?
14· · · ·A.· · Correct.
15· · · ·Q.· · Pardon?
16· · · ·A.· · Yes.
17· · · ·Q.· · And you verified these.· Correct?
18· · · ·A.· · Yes.
19· · · ·Q.· · Is that your signature on the back page where
20· ·you verified that these were --
21· · · ·A.· · Yes.
22· · · ·Q.· · -- verified these answers on March 7 of 2020?
23· · · ·A.· · Yes.
24· · · ·Q.· · And so in Interrogatory No. 1, you were called
25· ·upon to explain your claim that you didn't get paid

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·1· ·overtime that was owed to you.· Correct?
·2· · · ·A.· · Correct.
·3· · · ·Q.· · And so the points that you made -- in the first
·4· ·sentence you said "He was required to work such time for
·5· ·unload, offload and inventory duties that he was told
·6· ·must be done before he went home."· Correct?
·7· · · ·A.· · Correct.
·8· · · ·Q.· · And so that's at the end of the day.· Correct?
·9· · · ·A.· · Correct.
10· · · ·Q.· · So the two points that you raised in
11· ·Interrogatory No. 1 is that you claim that you had to
12· ·work beyond your eight hours at the end of the day.
13· ·Correct?
14· · · ·A.· · Correct.
15· · · ·Q.· · And you also claim that your lunch was short or
16· ·denied.· Correct?
17· · · ·A.· · Correct.
18· · · ·Q.· · And that's the only things that you had
19· ·indicated support your FLSA claim.· Correct?
20· · · ·A.· · True.
21· · · ·Q.· · And in the first sentence of your interrogatory
22· ·you say "To the best of plaintiff's recollection, he
23· ·worked more than 40 hours in a week on a regular
24· ·consistent basis without being paid overtime"?
25· · · ·A.· · Correct.

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·1· ·Correct?
·2· · · ·A.· · Correct.
·3· · · ·Q.· · And two, where you said that during your
·4· ·regular half hour lunch period, you were told "Go out
·5· ·there and do some work"?
·6· · · ·A.· · Correct.
·7· · · ·Q.· · Anything else?
·8· · · ·A.· · No.
·9· · · ·Q.· · And when you were saying, "I want to look at
10· ·the time detail," we did look at that Exhibit 10 time
11· ·detail.· Correct?
12· · · ·A.· · Correct.
13· · · ·Q.· · Several times.· Correct?
14· · · ·A.· · Correct.
15· · · ·Q.· · And what that exhibit showed us is that there
16· ·were a number of occasions where you went to your
17· ·supervisor and said -- and you had looked at your time
18· ·detail and you said there was something wrong, and your
19· ·supervisor went in and fixed it.· Right?· Where it would
20· ·show that you were tardy and the supervisor would go in,
21· ·type something into the Kronos system, and it would show
22· ·up corrected.· Right?
23· · · ·A.· · That's when I was telling you about time frames
24· ·that he didn't do it that I told him about.· I won't see
25· ·it until I get my paycheck, that he didn't fix it.

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·1· · · ·Q.· · Right.· I think you said there were twice that
·2· ·that happened.
·3· · · ·A.· · I said numerous occasions.· Not just twice.
·4· · · ·Q.· · Well, the record will --
·5· · · ·A.· · I'm saying that when my work -- there had been
·6· ·occasions -- and you can call Eric -- call him up and ask
·7· ·him yourself.· There's been occasions that he asked me,
·8· ·"Hey, I need you to stay for inventory" or "I need you to
·9· ·stay to -- I've got a truck coming in."· "When is it
10· ·going to be here?"· "They say 45 minutes."· So I wait.
11· ·Truck get there.· I offload it, whatever time that be.
12· ·That happened on numerous occasions.· Not just that one
13· ·particular day.· That's what I was talking about.
14· · · ·Q.· · We don't know what day.· Right?
15· · · ·A.· · Say again.
16· · · ·Q.· · We don't know a day.· Correct?
17· · · ·A.· · Day of the month, year, I can't get that, but
18· ·it happened a lot.
19· · · ·Q.· · Did anyone prevent you from clocking back in?
20· · · ·A.· · No.
21· · · ·Q.· · Did you ask to clock back in?
22· · · ·A.· · Well, during that rule when you clock out --
23· · · ·Q.· · That's not my question.
24· · · ·A.· · No.· That wasn't the procedure.
25· · · ·Q.· · That wasn't my question either.· I said did

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·1· ·anybody prevent you from clocking back in?
·2· · · ·A.· · No.
·3· · · ·Q.· · All you had to do was stick your finger on the
·4· ·Kronos machine.· Correct?
·5· · · ·A.· · That wasn't the procedure.
·6· · · ·Q.· · That's not my question.· All you would have to
·7· ·do to clock back in is stick your finger on the Kronos
·8· ·machine.· Correct?
·9· · · ·A.· · Correct.
10· · · ·Q.· · So if somebody asked you to come back, all you
11· ·would have to do is walk to the Kronos machine, put your
12· ·finger on it, and it would show you clocking in.
13· ·Correct?
14· · · ·A.· · Correct.
15· · · ·Q.· · And when you got done, all you had to do was
16· ·stick your finger on the Kronos machine and it would have
17· ·clocked you out.· Correct?
18· · · ·A.· · Correct.
19· · · ·Q.· · And nobody ever told you you couldn't do that.
20· ·Correct?
21· · · ·A.· · No one never told me I couldn't do it, but the
22· ·general rule was that once you clocked out --
23· · · ·Q.· · What rule?
24· · · ·A.· · -- you do not clock back in.· You don't double
25· ·clock in because you'll screw up Kronos.· Kronos will

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·1· ·think you're clocking back in, but they'll take care of
·2· ·it.· Eric Wilson will take care of.· Due to the system
·3· ·itself, if I was to try to clock in -- I'm clocked out.
·4· ·Come back in for Kronos, if I clock back in, the system
·5· ·will think I'm starting my day -- starting the day over
·6· ·instead of giving me time.
·7· · · ·Q.· · Well, it would think you're starting your day
·8· ·over.
·9· · · ·A.· · Say it again.
10· · · ·Q.· · Yes, it would think you're starting back into
11· ·work.
12· · · ·A.· · Yeah, but occasionally it happened that it --
13· ·your whole eight hours -- if I had eight hours in there
14· ·and I came back in there and I worked for 45 minutes, the
15· ·system say I worked -- when the payroll come out, it's
16· ·going to say 45 minutes instead of 8 hours and 45
17· ·minutes.· So he has to go into Kronos and input that in
18· ·there.
19· · · ·Q.· · Do you have a very good understanding of how
20· ·Kronos works?
21· · · ·A.· · Yes.
22· · · ·Q.· · Okay.· Are you sure?
23· · · ·A.· · Yes.· I mean, Kronos -- the system we had --
24· ·the first system we had was -- well, I shouldn't say.
25· ·The first system we had did not work the way it worked

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·1· ·now.
·2· · · ·Q.· · Let me just say --
·3· · · ·A.· · Totally different.
·4· · · ·Q.· · So the way Kronos works is, like, you clock in
·5· ·and you clock out.· Correct?· You've got your finger on
·6· ·the button?
·7· · · ·A.· · Correct.
·8· · · ·Q.· · And then once you clock out, if you stick your
·9· ·finger back on the button as you've just testified, it
10· ·will show you clocking back in?
11· · · ·A.· · Yes.
12· · · ·Q.· · And you'll stay clocked in until you put your
13· ·finger on the button again and clock out.· Correct?
14· · · ·A.· · Correct.
15· · · ·Q.· · So nobody told you you couldn't do that twice
16· ·in a day?
17· · · ·A.· · Correct.· The reason why -- it just came to me,
18· ·the reason why they say don't do that.· If I was to clock
19· ·out and clock back in, it's going to give -- it's like a
20· ·call-in basically.· It's like they have some -- it's like
21· ·they called me back in to pay me for three hours.· And if
22· ·I only worked 15 minutes, then Kronos is going to give me
23· ·three hours.· If I worked -- it pays you up to three
24· ·hours if you clock back in.· They didn't want that to
25· ·happen because sometimes the job may take 20 minutes.· It

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·1· ·may take an hour.· But it's going to automatic give me
·2· ·three hours.· They didn't want that.· They want to give
·3· ·you the actual physical hours that you worked.· That's
·4· ·what it was.
·5· · · ·Q.· · Who had that conversation with you?
·6· · · ·A.· · I mean, that's how the system worked.
·7· · · ·Q.· · Did anybody tell you that you could not clock
·8· ·back in?
·9· · · ·A.· · They preached that.· Unless you physically
10· ·called back in on -- unless you went home and physically
11· ·was called back in, you get an automatic three hours.
12· ·The machine was set up to give you three hours instead of
13· ·15 minutes or 20 minutes or an hour.· That's the reason
14· ·why they didn't want you to clock back in.
15· · · ·Q.· · What I'm asking you is did anybody -- I think
16· ·you testified that you don't recall anybody telling you
17· ·that you could not clock back in.· Is that correct?
18· · · · · · · · · MR. BHATTI:· Objection, form.
19· · · ·A.· · I won't say --
20· · · ·Q.· ·(BY MR. BIRRER) Or it's not correct.· I'm just
21· ·asking you.
22· · · ·A.· · My thing is I want to make sure that on the
23· ·record I know that's the reason why they didn't want --
24· ·if you was already existing at the plant, they didn't
25· ·want you to do that because it automatically gave you

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·1· ·three hours for a call-in.· That was the main reason.
·2· ·The supervisor fixed that -- was supposed to fix those
·3· ·errors.
·4· · · ·Q.· · So you're saying that -- I just want to get
·5· ·back to my question.· And you've told me why, but sitting
·6· ·here today, you don't -- when you were asked to clock
·7· ·back in after you clocked out -- when you were asked to
·8· ·go back to work after you clocked out, you don't have a
·9· ·recollection of anybody telling you that you cannot clock
10· ·back in?
11· · · ·A.· · No.
12· · · ·Q.· · So you're agreeing with me?
13· · · ·A.· · Correct.
14· · · ·Q.· · Okay.· Who was Dell Panther?
15· · · ·A.· · He was the prior supervisor in 2010.· He was
16· ·supervisor before Lucy Tovar.
17· · · ·Q.· · He wrote you up once, didn't he?
18· · · ·A.· · Yes, he did.
19· · · ·Q.· · And that was right around September 7 of 2010?
20· · · ·A.· · That's about correct.
21· · · ·Q.· · What did Mr. Panther write you up about?
22· · · ·A.· · I can't recall exactly what he wrote me up for.
23· ·It was like -- it was a double-standard.
24· · · ·Q.· · A what?
25· · · ·A.· · I can't recall what he wrote me up about, but

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                        bIN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

NEAL DAVIS,                                §
On Behalf of Himself and                   §
All others Similar Situated                §
                                           §           CIVIL ACTION NO.
        Plaintiff,                         §
                                           §           3:16-CV-01312-L
v.                                         §
                                           §
MARTIN MARIETTA MATERIALS,                 §
INC.                                       §
                                           §
        Defendant.                         §

      PLAINTIFF’S OBJECTIONS AND RESPONSES TO DEFENDANT MARTIN
       MARIETTA MATERIALS, INC.’S FIRST SET OF INTERROGATORIES

TO: Defendant, Martin Marietta Materials, Inc., by and through its counsel of record, Mike
Birrer, Carrington, Coleman, Sloman & Blumenthal, L.L.P., 901 S. Main Street, Suite 5500,
Dallas, Texas 75202.
        Plaintiff hereby serves his objections and responses to Defendant’s First Set of

Interrogatories to Plaintiff.

                                         Respectfully submitted,

                                         THE BHATTI LAW FIRM, PLLC

                                         /s/Vincent J. Bhatti
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                                         ATTORNEYS FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing instrument was served upon the
attorneys of record of all parties to the above cause in accordance with the Federal Rules of Civil
Procedure, on January 10, 2019.

Mike Birrer
Carrington, Coleman, Sloman & Blumenthal, L.L.P.
901 Main Street, Suite 550
Dallas, TX 75202
Attorneys for Defendant

                                                     /s/Vincent J. Bhatti
                                                     Vincent J. Bhatti




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                                   GENERAL OBJECTIONS

       1.       Plaintiff objects to Defendant’s First Set of Interrogatories to the extent that they
seek to impose obligations beyond those provided for by applicable law. Plaintiff responds to
these requests by giving each term, word, and phrases its usual, customary and ordinary
meaning, and in accordance with the scope of discovery mandated by applicable law, and
reserves the right to amend, supplement, or clarify its responses to the requests in the future.

         2.     Plaintiff objects to Defendant’s First Set of Interrogatories to the extent that they
inquire about attorney-client communications, attorney work product, party communications,
trial preparation materials, confidential information, proprietary information or to its materials or
communications which are privileged or exempt from discovery. Plaintiff specifically withholds
from discovery all attorney-client communications between Plaintiff and its counsel, including
attorney-client communications and work product of Plaintiff’s counsel. Plaintiff objects to
including any log for such material created after the anticipation of litigation in this matter.

        3.     Plaintiff objects to Defendant’s First Set of Interrogatories to the extent that they
seek information or documents that are equally available to Defendant and Plaintiff.

        4.      Plaintiff objects to these requests to the extent they are vague, overly broad in
time or scope, unduly burdensome or seek information which is irrelevant and not reasonably
calculated to lead to the discovery of admissible evidence.

        5.      Plaintiff objects to the these interrogatories to the extent that they seek
information that is not relevant to the subject matter of this litigation and not reasonably
expected to yield information relevant to the allegations of the complaint, to the proposed relief,
or to the defenses of any Defendant.

       6.       Plaintiff objects to the interrogatories to the extent that they seek the premature
discovery of expert testimony. Plaintiff will submit expert reports and make their experts
available for deposition pursuant to the Scheduling Order.

        7.      Plaintiff objects to the interrogatories to the extent they seek to impose an
obligation on Plaintiff to provide information for or on behalf of any person or entity other than
Plaintiff, and/or seek information that is not in Plaintiff’s possession, custody, or control.

       8.      Plaintiff objects to the interrogatories to the extent that discovery sought is
unreasonably cumulative or duplicative, or is obtainable from some other source that is more
convenient, less burdensome, or less expensive.

       9.      Plaintiff objects to the interrogatories to the extent they do not adequately define
terms used in them.

       10.     Each of the following responses to Defendant’s First Set of Interrogatories
incorporates by reference each of the foregoing General Objections and is expressly conditioned




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upon and subject to and without waiver of each of the foregoing General Objection.


                                   INTERROGATORIES

        INTERROGATORY NO. 1.               Identify each workweek on which You contend
Martin Marietta required You to complete a workload that resulted in an excess of 40 hours and
failed to compensate You for overtime hours worked. This includes each time You contend You
were forced to work through lunch and that such lunchtime work resulted in an excess of 40
hours worked that workweek. For each workweek, specify:

       (a) The dates for the workweek;
       (b) The person, policy, or employment practice that required You to work in excess of 40
       hours that week;
       (c) Whether You were forced to work through lunch and, if so, on which days; and
       (d) The person, if any, to whom You stated that You were not compensated appropriately
       for overtime hours worked.

RESPONSE: To the best of Plaintiff’s recollection he worked more than forty (40) hours in a
week on a regular and consistent basis without being paid overtime. He was required to work
such time for unload, offload and inventory duties that he was told must be done before he went
home. Plaintiff recalls averaging 15 hours of overtime period week. Plaintiff’s lunch hour was
regularly and consistently either shortened or denied altogether because he was required to
unload or offload a truck and/or do inventory immediately.

       INTERROGATORY NO. 2.                 Describe all factual bases and legal theories to
support Your contention that You were “highly qualified” for the position of Human Resource
Manager at the time You applied for the position.

RESPONSE: Plaintiff objects to this request to the extent it requires Plaintiff to provide legal
opinion. Notwithstanding such objection, Plaintiff states that he was a United States Army
Recruiter for eight (8) years from June 1996 to September 2004. In addition, Plaintiff holds a
Bachelor’s Degree in Human Resources and had almost ten (10) years of experience inside
Martin Marietta.

       INTERROGATORY NO. 3.               Describe all factual bases and legal theories to
support Your contention that You were “highly qualified” for the position of Planner at the time
You applied for the position.

RESPONSE: Plaintiff objects to this request to the extent it requires Plaintiff to provide legal
opinion. Notwithstanding such objections, Plaintiff states he had experience in planning in the
United States Army from 1984 to 2004. He was highly experienced and skilled in long range
and short term planning in this role. In addition, he had almost ten (10) years of experience at




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Marietta Martin ordering parts in the storeroom which was a very similar skill to the primary
skills necessary for the Planner position.

       INTERROGATORY NO. 4.                   Identify all communications related to Your
application for and rejection from the position of Human Resource Manager.

RESPONSE: Plaintiff objects to this request as vague and not calculated to lead to admissible
evidence. Notwithstanding such objections, Plaintiff states he applied for the HR job with a lady
named Karen McDonald who was a temporary HR manager. She stated to Plaintiff that she did
not understand why they overlooked Plaintiff for the position of HR Manager given that Plaintiff
was much more experienced with the company and much more education than the young lady
that was selected. Another male supervisor at Martin Marietta stated that only females get HR
jobs and office jobs at that plant and that’s why you did not get the job. Plaintiff was told by the
Bridget Hurst that she found out about the job because the plant manager had called her and
asked her to reapply after receiving Plaintiff’s application and expressions of interest. Plaintiff
was not called for an interview by HR. In fact, Plaintiff called the HR Director to try to
interview for the job. In the interview, the HR Director asked Plaintiff how he felt working
around women. He stated that he had plenty of experience working with women with no issues.
Karen McDonald told Plaintiff that it looks like the Plant Manager and Director of HR had
decided to give Bridget the job before considering an interview for Plaintiff. Karen told Plaintiff
it was unfair the way they overlooked Plaintiff for the HR job. Karen told Plaintiff to hang in
there and apply to the Planner position.

       INTERROGATORY NO. 5.                   Identify all communications related to Your
application for and rejection from the position of Planner.

RESPONSE: Plaintiff objects to this request as vague and not reasonably calculated to lead to
admissible evidence. Notwithstanding such objections, Plaintiff states that he applied for the
Planner postion with Jason Crowther (assistant plant manager). Plaintiff followed up with Jason
on a weekly basis for a four (4) month period. Jason admitted that Plaintiff was qualified for the
position on many occasions. Another Martin Marietta maintenance worker and many other
employees stated that they were grooming Jason’s secretary, Leann, for that job. Jason told me
he would post the results of the selection after thanksgiving when I inquired. ON January 20th, I
followed up with Jason again on the Planner position. He said he would know by January 22 nd.
On January 22, 2016, I saw Bridget, the plant manager and Leann getting into a truck to go to
lunch together. I followed up with Bridget asking her whether I was getting the position. She
told me to wait until after lunch. Upon returning from lunch, Bridget called me into an office
with Eric Wilson who read a termination letter to me. They tried to say I was late by 1-2 minutes
on more than 20 occasions but I clarified that the Martin Marietta rule is that lateness is 7
minutes or more. I also stated that no one warned me or told me I was being late.




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       INTERROGATORY NO. 6.              Describe the occasion on which You contend an
individual in the Human Resources Department told You that “if you want to be promoted you
should leave the company.”

RESPONSE: At the end of December 2015, Plaintiff had identified the female HR manager on
the floor of the warehouse. They stepped into Plaintiff’s boss’ office upon Plaintiff’s request.
Plaintiff complained to the HR Manager that he was being overlooked for these jobs that he was
very qualified for based on his gender and race. She stated that if you feel like you are being
discriminated against based on gender or race then you should probably go outside the company
to get another job. It took place in Eric Wilson’s office.

       INTERROGATORY NO. 7.                     Describe the occasion on which You contend a co-
worker told You that You were “the wrong skin color for a particular job.” In addition to the
information listed in Instruction 3, also identify the specific job to which this comment related.

RESPONSE: In 2015, Clint Gilley, a maintenance worker, was talking with Plaintiff and he said
you can call it what you want but you are wrong skin color for that job. He went on to ask
Plaintiff how many black people have been in the front office or the HR. In addition, in 2015,
Danny Thursby, a maintenance supervisor, told Plaintiff not to get his hopes up because they
already selected someone for that job and implied it would be Jason’s secretary, Leann.

       INTERROGATORY NO. 8.                Describe all factual bases and legal theories to
support Your contention that You were terminated based on Your race.

RESPONSE: Plaintiff objects to this request to the extent it calls for a legal opinion, not
reasonably calculated to lead to admissible evidence, not reasonably limited in time/scope,
overbroad, vague, and unduly burdensome. Notwithstanding such objections, Plaintiff states that
Mike Martinez said that on the day that Plaintiff was terminated Martin Marietta had a meeting
saying that everyone must take their lunch breaks and clock-in/clock-out. In 2008, someone
hung a noose at that plant. Plaintiff was one of the primary people who complained about the
incident and he believes he was labeled a troublemaker from that point forward. After
terminating Plaintiff from his position Martin Marietta hired Martin, a Caucasian to replace him.

      INTERROGATORY NO. 9.               Identify each act, conduct, communication, or
employment practice that You contend constituted discrimination on the basis of Your race or
sex.

RESPONSE: Plaintiff objects to this request to the extent it calls for a legal opinion, not
reasonably calculated to lead to admissible evidence, not reasonably limited in time/scope,
overbroad, vague, and unduly burdensome. Notwithstanding such objections, Plaintiff states that
he was overlooked for two jobs that he was clearly qualified based on his race/gender namely the
HR Manager and Planner positions. The people selected were much less qualified, female and
Caucasian. Plaintiff further points out to the failure to promote or hire minorities and men for




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the front office and/or HR. Plaintiff further points out that there are little to no minority
supervisors. Plaintiff reported the discrimination on a regular basis and Martin Marietta simply
ignored it and told him he always had the option to quit his job and look for a better position with
another company.

        INTERROGATORY NO. 10.                 Identify each individual outside Your protected
class whom You contend was treated differently from You with regard to promotions and/or
hiring decisions at Martin Marietta. For each individual, in addition to the information described
in Instruction 1, also specify:
        (a) The characteristics You contend place this individual outside Your protected class;
        (b) How this individual is otherwise similarly situated to You;
        (c) The occasion on which You contend this individual received preferential treatment;
        and
        (d) The Martin Marietta employee who You contend gave that individual such
        preferential treatment

RESPONSE: Plaintiff would put forth that each female Caucasian employee hired instead of
him for the Planner (Leann) and HR Manager (Bridget Hurst) job was treated better than him as
they were both not as qualified for their respective positions by education or experience with the
company. He believes that Randy Walsh hired for the HR job and Jason hired for the planner
position. Carl Weatherford was regularly late more than 7 minutes and he was Caucasian and
not terminated. The regularly changed the Kronos read out for him because he was officially late
regularly based on the 7 minute rule.

       INTERROGATORY NO. 11.                 Identify every time on which You contend You
“received high praise” for Your work performance. For each such time, specify:
       (a) The date on which the praise was communicated to You;
       (b) The person giving You such praise;
       (c) The method by which the praise was communicated;
       (d) The specific praise that was given; and
       (e) Any other individuals who were present when You received such praise.

RESPONSE: In 2013, Plaintiff received a $1 raise. In 2015, Plaintiff and Mike Martinez were
taken to lunch by Eric Wilson. Eric Wilson would let Plaintiff know he did a good job at least
twice a month. Jason would give Plaintiff regular compliments about job performance and the
maintenance supervisor would comment regularly that Plaintiff was doing a good job. On that
date of Plaintiff’s termination, Eric Wilson stated “Man, I don’t want to do this, but my hands are
tied and they are making me do this.” Hr manager was there listening to Eric making this
comment. Eric Wilson was even crying on the day of Plaintiff’s termination and said “this is not
right.” Plaintiff asked Eric Wilson if they were firing him to give Leann the job, he stated yes.




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        INTERROGATORY NO. 12.                 If You contend Martin Marietta did not exercise
reasonable care to prevent and promptly correct discriminatory conduct, describe with
particularity Martin Marietta’s actions or inactions that show a failure to exercise reasonable care
to prevent and promptly correct discriminatory conduct.

RESPONSE: Plaintiff objects to this request as vague and not reasonably calculated to lead to
admissible evidence. Plaintiff cannot be expected to describe inaction with particularity.
Plaintiff reported discrimination directly to HR and to many other managers. Plaintiff’s
complaints were never investigate or otherwise addressed with him. Instead, he was fired less
than a month after directly speaking to the HR manager in Eric Wilson’s office about the
discrimination.

      INTERROGATORY NO. 13.                 What is the method You used to calculate the
amount of damages You seek in this Lawsuit? Identify the calculations, amount for each of type
of damage, factual basis, and any documents on which You rely.

RESPONSE: Plaintiff was unemployed between January 22, 2016 and about September 20,
2016 when he got another job making more money. He made $17.80 per hour plus benefits and
worked on average of 55 hours per week. $17.80 x 55 hours per week = $979 per week x 35
weeks = $34,265.00. Half time: $8.9 per hour x 15 hours OT per week = $133.5 OT per week x
35 weeks = $4,672.50. Plaintiff suffered significant mental and emotional pain from this
termination. He was already diagnosed with PTSD given his time in the Army in 2012 or 2013.
Yet, he lost over 23 pounds after his termination and could not sleep at all. He was prescribed a
sleeping medication due to his termination. Plaintiff calculated his mental/emotional damages at
$50,000.00. Plaintiff lost his house as a result of his termination and was forced to move to a
rental property and estimates damages of $50,000.00. Plaintiff lost his health, dental and vision
benefits. Plaintiff estimates this value for 35 weeks to be valued at approximately $7,000.00.

       INTERROGATORY NO. 14.                  Identify every healthcare provider who has provided
You with any medical, physical, psychological, psychiatric, or mental health treatment,
counseling, or consultation, since January 1, 2016.

RESPONSE: Plaintiff objects to this request as overbroad, unduly burdensome, vague and not
reasonably calculated to lead to admissible evidence. Notwithstanding such objections, Plaintiff
states that he has been treated by Dr. Barry J and Dr. Fornito A. at the Fort Worth VA. Plaintiff
also stated that he has been treated by Dr. Jeffrey Fisher at the Mansfield Urgent Clinic.

       INTERROGATORY NO. 15.             Identify each person with whom You have applied
for employment after the termination of Your employment with Martin Marietta. For each
person, specify:

       (a) The name of the person;
       (b) The date on which You applied;




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       (c) The status of Your application;
       (d) The date on which You interviewed, if applicable;
       (e) The date of any rejection or offer of employment; and
       (f) For any position You turned down, the reason for Your rejection of the offer.

RESPONSE: Plaintiff refers Defendant to his documents produced.

        INTERROGATORY NO. 16.                 Identify all income, compensation, and benefits
received by You from the termination of Your employment with Martin Marietta, through the
date of trial. This includes, but is not limited to, income received through employment, self-
employment, contract work, unemployment compensation, workers’ compensation, social
security or disability benefits of any kind, spousal support, or any income reflected on an IRS
Form 1099.

RESPONSE: Plaintiff received approximately $11,000 in unemployment before obtaining his
first job on approximately September 20, 2016 as an Officer Manager/Planner making $25 per
hour plus benefits, keeping orders, inventory, supervising personnel until August 2018 at All-Pro
Distribution in Carrollton, Texas. He resigned that position to take a job at the VA in August
2018 as a Logistics Manager making $54K per year plus benefits, ordering inventory and
purchasing for the VA. He resigned that position in March 2019 to take a job at the Department
of Labor in March 2019 making $57K per year plus benefits and serving as a Safety/Compliance
officer for mines.

       INTERROGATORY NO. 17.                   Identify all employment benefits of any kind You
have received from any source from the termination of Your employment with Martin Marietta
through the date of trial, including, but not limited to, life insurance, health insurance, vision or
dental insurance, 401(k) contributions, pension plan contributions, and/or profit-sharing
contributions or payments.

RESPONSE: Plaintiff received no benefits until he started his position with All Pro on or about
September 20, 2016. Since that time, Plaintiff has received similar or better benefits than
received at Martin Marietta.

       INTERROGATORY NO. 18.             Describe the factual basis and/or legal theories for
Your contention that You have suffered mental anguish. This includes, but is not limited to, all
conditions, symptoms, and related dates.

RESPONSE: Plaintiff objects to this request to the extent it requests legal conclusion/opinion.
Plaintiff further objects to this request a vague and not reasonably limited in scope/time.
Notwithstanding such objections, Plaintiff states he lost over 23 pounds, and could not sleep. He
was prescribed a sleeping medicine and his PTSD condition was increased due to the mental
anguish from his wrongful termination from a position he held almost 10 years.




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        INTERROGATORY NO. 19.              If You denied Request for Admission No. 10,
identify each occasion on which You reported alleged discrimination in the workplace.

RESPONSE: Plaintiff objects to this request as not reasonably calculated to lead to admissible
evidence and not reasonably limited in time/scope as well as vague. Notwithstanding such
objections, Plaintiff states he reported discrimination to the HR manager directly in-person in
late 2015. He reported discrimination regarding his being passed up for the HR manager job
and/or the Planner job at least twice a month. He would report his complaints of discrimination
to Eric Wilson, Mike Martinez, Jason, Maintenance Managers, HR manager. Plaintiff reported
discrimination on at least 10 occasions to different managers all in 2015 and one time in 2016
just before his termination.




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